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                   UNITED STATES
                   UNITED STATES DISTRICT
                                 DISTRICT COURT
                                          COURT
                     DISTRICT OF
                     DISTRICT OF CONNECTICUT
                                 CONNECTICUT

MATTHEW CYDYLO,
MATTHEW           ON BEHALF
          CYDYLO, ON        OF
                     BEHALF OF
HIMSELF AND
HIMSELF AND ALL
            ALL OTHERS
                OTHERS SIMILARLY
                       SIMILARLY
SITUATED,
SITUATED,
                                           CLASS ACTION
                                           CLASS ACTION COMPLAINT
                                                        COMPLAINT
                          Plaintiff,
                          Plaintiff,
                                           DEMAND FOR
                                           DEMAND FOR JURY
                                                      JURY TRIAL
                                                           TRIAL
            v.
            v.

AGILIS ENGINEERING,
AGILIS  ENGINEERING, INC.,   BELCAN
                       INC., BELCAN
ENGINEERING GROUP,
ENGINEERING    GROUP, LLC,   CYIENT,
                        LLC, CYIENT,
INC., PARAMETRIC
INC.,              SOLUTIONS, INC.,
      PARAMETRIC SOLUTIONS,      INC.,
QUEST GLOBAL
QUEST           SERVICES-NA, INC.,
        GLOBAL SERVICES-NA,          and
                               INC., and
RAYTHEON TECHNOLOGIES
RAYTHEON    TECHNOLOGIES
CORPORATION, PRATT
CORPORATION,    PRATT & & WHITNEY
                          WHITNEY
DIVISION, MAHESH
DIVISION,  MAHESH PATEL,   ROBERT
                    PATEL, ROBERT
HARVEY, HARPREET
HARVEY,   HARPREET WASAN,
                     WASAN, STEVE
                              STEVE
HOUGHTALING, THOMAS
HOUGHTALING,     THOMAS EDWARDS,
                          EDWARDS,
GARY
GARY PRUS,   FRANK O’NEILL
       PRUS, FRANK  O'NEILL

                          Defendants.
                          Defendants.
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       Plaintiff Matthew Cydylo,
       Plaintiff Matthew Cydylo, individually and on
                                 individually and on behalf
                                                     behalf of
                                                            of aa class
                                                                  class of
                                                                        of similarly
                                                                           similarly

situated individuals,
situated              brings this
         individuals, brings this action for damages
                                  action for damages and
                                                     and injunctive
                                                         injunctive relief
                                                                    relief under
                                                                           under the
                                                                                 the

antitrust laws of
antitrust laws of the
                  the United States against
                      United States against QuEST
                                            QuEST Global Services-NA, Inc.
                                                  Global Services-NA,      (QuEST),
                                                                      Inc. (QuEST),

Belcan
Belcan Engineering
       Engineering Group,
                   Group, LLC (Belcan), Cyient,
                          LLC (Belcan), Cyient, Inc. (Cyient), Agilis
                                                Inc. (Cyient), Agilis Engineering,
                                                                      Engineering, Inc.
                                                                                   Inc.

(Agilis), Parametric
(Agilis),            Solutions, Inc.
          Parametric Solutions, Inc. (PSI) (collectively QuEST,
                                     (PSI) (collectively QuEST, Belcan,
                                                                Belcan, Cyient, Agilis and
                                                                        Cyient, Agilis and

PSI
PSI are
    are referred
        referred to
                 to herein
                    herein as
                           as the Supplier Defendants),
                              the Supplier              Raytheon Technologies
                                           Defendants), Raytheon Technologies

Corporation,
Corporation, Pratt & Whitney
             Pratt & Whitney Division
                             Division (P&W),
                                      (P&W), and Mahesh Patel,
                                             and Mahesh Patel, Robert Harvey,
                                                               Robert Harvey,

Harpreet Wasan, Steve
Harpreet Wasan, Steve Houghtaling, Thomas Edwards,
                      Houghtaling, Thomas Edwards, Gary
                                                   Gary Prus,
                                                        Prus, and
                                                              and Frank O’Neill.
                                                                  Frank O'Neill.

I.
I.     SUMMARY OF
       SUMMARY OF THE
                  THE ACTION
                      ACTION

       1.
       1.      This class
               This class action challenges an
                          action challenges an illegal conspiracy among
                                               illegal conspiracy among P&W and several
                                                                        P&W and several

outsource engineering
outsource engineering suppliers
                      suppliers (i.e.
                                (i.e. the Supplier Defendants)
                                      the Supplier Defendants) to
                                                               to restrict the hiring
                                                                  restrict the hiring and
                                                                                      and

recruiting of engineers
recruiting of engineers and other skilled
                        and other skilled laborers working on
                                          laborers working on aerospace
                                                              aerospace projects (Engineers)
                                                                        projects (Engineers)

among
among their
      their respective
            respective companies (the No-Poach Agreement).
                       companies (the

       2.
       2.      Defendants entered
               Defendants entered into
                                  into and maintained this
                                       and maintained      No-Poach Agreement
                                                      this No-Poach Agreement at
                                                                              at

least as early
least as early as
               as 2011
                  2011 and
                       and continued
                           continued it
                                     it until
                                        until at
                                              at least
                                                 least 2019. Throughout this
                                                       2019. Throughout this time, and
                                                                             time, and

indeed
indeed until
       until just
             just recently,
                  recently, Defendants concealed their
                            Defendants concealed       No-Poach Agreement
                                                 their No-Poach Agreement from
                                                                          from their
                                                                               their

employees and
employees and independent
              independent contractors.
                          contractors.




                                              22
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       3.
       3.      The scope
               The scope of
                         of the
                            the No-Poach
                                No-Poach Agreement
                                         Agreement was
                                                   was broad,
                                                       broad, covering
                                                              covering at least all
                                                                       at least all

Engineers
Engineers employed by (or
          employed by (or working
                          working as an independent
                                  as an             contractor for)
                                        independent contractor for) Defendants
                                                                    Defendants to
                                                                               to

work on
work on P&W
        P&W projects
            projects and statements of
                     and statements of work
                                       work in
                                            in the
                                               the United States and
                                                   United States and its
                                                                     its territories.
                                                                         territories.

       4.
       4.      This No-Poach
               This No-Poach Agreement
                             Agreement was
                                       was intended
                                           intended to,
                                                    to, and did, reduce
                                                        and did, reduce competition
                                                                        competition

for Engineers’ services
for Engineers' services and,
                        and, as
                             as aa result, suppressed the
                                   result, suppressed the job
                                                          job mobility of and
                                                              mobility of and compensation
                                                                              compensation

to
to Plaintiff
   Plaintiff and
             and the
                 the members of the
                     members of the proposed
                                    proposed Class (defined below)
                                             Class (defined below) below
                                                                   below the
                                                                         the levels
                                                                             levels that
                                                                                    that

would have
would have prevailed but for
           prevailed but     the illegal
                         for the         No-Poach Agreement.
                                 illegal No-Poach Agreement.

       5.
       5.      Defendants reached
               Defendants         their unlawful
                          reached their unlawful horizontal
                                                 horizontal agreement at the
                                                            agreement at the highest
                                                                             highest

levels of their
levels of       organizations, through
          their organizations,         verbal agreements
                               through verbal agreements that were later
                                                         that were later confirmed by
                                                                         confirmed by

Defendants, by their
Defendants, by       conduct and
               their conduct and in
                                 in their emails, which
                                    their emails, which they
                                                        they agreed
                                                             agreed to conceal from
                                                                    to conceal from

outsiders, from
outsiders, from their
                their respective employees who
                      respective employees who make
                                               make up the proposed
                                                    up the proposed Class, and from
                                                                    Class, and from

the
the public. As described
    public. As described below,
                         below, Defendants'
                                Defendants’ senior
                                            senior executives
                                                   executives periodically
                                                              periodically reaffirmed,
                                                                           reaffirmed,

monitored, and policed
monitored, and policed the No-Poach Agreement.
                       the No-Poach Agreement.

       6.
       6.      The No-Poach
               The No-Poach Agreement
                            Agreement was
                                      was first brought to
                                          first brought to light by the
                                                           light by     DOJ on
                                                                    the DOJ on

December
December 9,
         9, 2021, when it
            2021, when it partially
                          partially unsealed
                                    unsealed aa criminal
                                                criminal antitrust action against
                                                         antitrust action against the
                                                                                  the

Director of Global
Director of        Engineering Sourcing
            Global Engineering Sourcing at
                                        at P&W, Mahesh Patel.
                                           P&W, Mahesh        In aa supporting
                                                       Patel. In    supporting

affidavit
affidavit from
          from an
               an DCIS agent, the
                  DCIS agent,     DOJ alleged
                              the DOJ alleged that
                                              that Patel conspired with
                                                   Patel conspired with the Supplier
                                                                        the Supplier

Defendants to restrict
Defendants to restrict the
                       the hiring and recruiting
                           hiring and            of Engineers
                                      recruiting of Engineers with
                                                              with the
                                                                   the goal
                                                                       goal and effect of
                                                                            and effect of




                                             33
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suppressing Engineers’
suppressing Engineers' compensation wages. See
                       compensation wages.     Aff. in
                                           See Aff.    Supp. of
                                                    in Supp. of Criminal Compl. and
                                                                Criminal Compl. and

Arrest Warrant,
Arrest Warrant, United States v.
                United States v. Patel, No. 3:21-mj-1189,
                                 Patel, No. 3:21-mj-1189, ECF No. 15
                                                          ECF No.    (D. Conn.
                                                                  15 (D. Conn. Dec.
                                                                               Dec. 9,
                                                                                    9,

2021) (DCIS Affidavit).
2021) (DCIS

        7.
        7.      Then, on
                Then, on December
                         December 15,
                                  15, 2021, the DOJ
                                      2021, the DOJ filed
                                                    filed aa new criminal indictment,
                                                             new criminal indictment,

naming
naming Patel, as well
       Patel, as well as
                      as Robert
                         Robert Harvey, Harpreet Wasan,
                                Harvey, Harpreet Wasan, Steven
                                                        Steven Houghtaling,
                                                               Houghtaling, Tom
                                                                            Tom

Edwards, and Gary
Edwards, and Gary Prus as defendants
                  Prus as defendants (and
                                     (and all
                                          all of
                                              of which
                                                 which are
                                                       are named as Defendants
                                                           named as Defendants

herein),
herein), and charging them
         and charging them with
                           with all with one
                                all with one count
                                             count of
                                                   of violating
                                                      violating the
                                                                the Section
                                                                    Section One of the
                                                                            One of the

Sherman Act.
Sherman Act. The
             The indictment quotes extensively
                 indictment quotes extensively from
                                               from email correspondence among
                                                    email correspondence among the
                                                                               the

individual defendants, in
individual defendants,    which they
                       in which      discuss, memorialize
                                they discuss,             and police
                                              memorialize and police the No-Poach
                                                                     the No-Poach

Agreement alleged
Agreement alleged in
                  in this complaint (hereafter
                     this complaint (hereafter the
                                               the December 15 Indictment).

        8.
        8.      The DCIS
                The DCIS Affidavit
                         Affidavit and
                                   and the December 15
                                       the December    Indictment outline
                                                    15 Indictment outline how
                                                                          how

Defendants,
Defendants, through
            through their officers, directors,
                    their officers, directors, agents,
                                               agents, employees, or representatives,
                                                       employees, or representatives, agreed
                                                                                      agreed

not
not to compete for
    to compete for the services of
                   the services of each other’s Engineers,
                                   each other's Engineers, specifically
                                                           specifically by
                                                                        by agreeing
                                                                           agreeing to
                                                                                    to

restrict
restrict the
         the hiring
             hiring and
                    and recruiting of Engineers
                        recruiting of           between and
                                      Engineers between and among
                                                            among Suppliers
                                                                  Suppliers in
                                                                            in the
                                                                               the

United States and
United States and its
                  its territories.
                      territories.

        9.
        9.      The No-Poach
                The No-Poach Agreement
                             Agreement manifested
                                       manifested in
                                                  in interwoven and overlapping
                                                     interwoven and overlapping

hiring
hiring and
       and recruiting
           recruiting restrictions,
                      restrictions, all of which
                                    all of which had
                                                 had the common purpose
                                                     the common         of limiting
                                                                purpose of limiting

competition for,
competition for, and
                 and thereby
                     thereby restricting
                             restricting the
                                         the free movement and
                                             free movement and compensation
                                                               compensation of,
                                                                            of,




                                             4
                                             4
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Engineers within the aerospace engineering industry. The No-Poach Agreement thus

artificially extended Engineers’
                      Engineers' length of work at a given employer and reduced or

eliminated their ability to advocate and obtain better terms of employment, including

compensation, at current and future employers. Indeed, because an employees'
                                                                  employees’

compensation at a subsequent job is based in large part on what that employee was

earning in the job which she seeks to leave, the wage depression caused by Defendants’
                                                                           Defendants'

conduct may stay with the employee for years, or decades.

       10.     The hiring and recruiting restrictions that make up the No-Poach

                         Defendants’ shared financial motivations, specifically a desire
Agreement were shaped by Defendants'

to suppress wages and thereby lessen labor costs in fulfillment of aerospace contracts.

       11.     Defendants monitored each other's
                                         other’s compliance with the unlawful No-

Poach Agreement and communicated regarding deviations from it in order to enforce

compliance. For instance, Supplier Defendants repeatedly reported perceived rule

breaking by their co-conspirators to Patel, who in turn directed that such violations of the

No-Poach Agreement cease immediately. And, Patel had the ability to punish violators, by

withholding future lucrative work from the violator.

       12.     Defendants directly linked the operations of the No-Poach Agreement to

the financial benefits that would accrue to them from suppressing wages, noting, for




                                             55
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example, that
example,      discipline in
         that discipline    “not hir[ing]
                         in "not hirling] any
                                          any partners employee” was
                                              partners employee" was essential
                                                                     essential to “pre[v]ent
                                                                               to "pre[v]ent

poaching and price
poaching and       war.” DCIS
             price war." DCIS Affidavit,
                              Affidavit, 1¶1[ 24.
                                              24.

       13.
       13.     The No-Poach
               The No-Poach Agreement
                            Agreement was
                                      was made
                                          made and enforced privately,
                                               and enforced privately, confidentially,
                                                                       confidentially,

and at the
and at the highest levels of
           highest levels of the organizations, and
                             the organizations, and thus Defendants succeeded
                                                    thus Defendants succeeded in
                                                                              in

concealing the
concealing the No-
               No- Poach Agreement from
                   Poach Agreement from Plaintiff
                                        Plaintiff and
                                                  and the
                                                      the members of the
                                                          members of the Class.
                                                                         Class. But
                                                                                But

for the DOJ's
for the DOJ’s criminal
              criminal investigation of Patel
                       investigation of       and the
                                        Patel and the resulting
                                                      resulting publication of the
                                                                publication of the DCIS
                                                                                   DCIS

Affidavit and
Affidavit and December
              December 15,
                       15, Indictment,
                           Indictment, exposing
                                       exposing the No-Poach Agreement,
                                                the No-Poach Agreement, the
                                                                        the existence
                                                                            existence

of the
of     anticompetitive No-Poach
   the anticompetitive No-Poach Agreement
                                Agreement might
                                          might have
                                                have remained
                                                     remained permanently
                                                              permanently hidden.
                                                                          hidden.

       14.
       14.     Defendants were
               Defendants were aware
                               aware that
                                     that their conduct was
                                          their conduct was illegal. Indeed, on
                                                            illegal. Indeed, on multiple
                                                                                multiple

occasions, managers
occasions, managers and
                    and executives
                        executives raised concerns that
                                   raised concerns that restricting the hiring
                                                        restricting the        of
                                                                        hiring of

employees as
employees as required
             required by
                      by the No-Poach Agreement
                         the No-Poach Agreement was
                                                was illegal. But Defendants
                                                    illegal. But Defendants persisted
                                                                            persisted

in
in the conduct anyway.
   the conduct anyway.

       15.
       15.     Antitrust enforcers
               Antitrust enforcers in
                                   in the
                                      the United States have
                                          United States      been clear
                                                        have been clear that
                                                                        that this conduct
                                                                             this conduct

is
is unlawful, and it
   unlawful, and it has been the
                    has been the subject
                                 subject of
                                         of increased enforcement activity
                                            increased enforcement activity in
                                                                           in recent years.
                                                                              recent years.

Indeed,
Indeed, the DOJ has
        the DOJ has brought
                    brought numerous successful criminal
                            numerous successful criminal prosecutions seeking to
                                                         prosecutions seeking to hold
                                                                                 hold

those who enter
those who enter into
                into these
                     these types of harmful
                           types of harmful pacts,
                                            pacts, criminally
                                                   criminally liable.
                                                              liable.

       16.
       16.     In 2016,
               In 2016, the Department of
                        the Department of Justice
                                          Justice and
                                                  and Federal Trade Commission
                                                      Federal Trade Commission issued
                                                                               issued

guidance about
guidance about the
               the anticompetitive
                   anticompetitive effects of no-poach
                                   effects of no-poach agreements
                                                       agreements like
                                                                  like the one at
                                                                       the one at issue
                                                                                  issue in
                                                                                        in




                                              66
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this case. The
this case. The guidance
               guidance made clear that
                        made clear that agreements
                                        agreements between
                                                   between employers
                                                           employers not
                                                                     not to solicit or
                                                                         to solicit or

hire each other's
hire each other’s employees “eliminate competition
                  employees "eliminate competition in
                                                   in the same irredeemable
                                                      the same              way as
                                                               irredeemable way as

agreements
agreements to
           to fix
              fix product
                  product prices or allocate
                          prices or          customers, which
                                    allocate customers, which have
                                                              have traditionally been
                                                                   traditionally been

criminally investigated
criminally              and prosecuted
           investigated and prosecuted as
                                       as hardcore         conduct."1
                                                   cartel conduct.”
                                          hardcore cartel.

        17.
        17.     In the
                In     ensuing years,
                   the ensuing years, the
                                      the DOJ
                                          DOJ has
                                              has continued
                                                  continued to
                                                            to issue guidance to
                                                               issue guidance to

employers making
employers making clear
                 clear that
                       that no-poach
                            no-poach agreements
                                     agreements remain
                                                remain illegal.
                                                       illegal. For
                                                                For example,
                                                                    example, in
                                                                             in 2019,
                                                                                2019,

the
the DOJ wrote:
    DOJ wrote:

        When companies
        When    companies agree
                            agree not
                                    not to
                                         to hire or recruit
                                            hire or          one another’s
                                                    recruit one   another's employees,
                                                                             employees, they
                                                                                          they
        are
        are agreeing
            agreeing not  to compete
                      not to compete for     those employees'
                                         for those  employees’ labor.
                                                                 labor. Robbing    employees
                                                                         Robbing employees
        of   labor market
        of labor     market competition
                                competition deprives
                                                deprives them
                                                            them of  of job    opportunities,
                                                                         job opportunities,
        information,
        information, and
                       and the
                           the ability
                                 ability to
                                         to use competing offers
                                            use competing           to negotiate
                                                             offers to negotiate better
                                                                                 better terms
                                                                                        terms
        of  employment. Under
        of employment.     Under the       antitrust laws,
                                      the antitrust  laws, the    same rules
                                                             the same            apply when
                                                                          rules apply   when
        employers   compete for
        employers compete      for talent
                                   talent in
                                           in labor markets as
                                              labor markets   as when
                                                                 when they    compete to
                                                                        they compete       sell
                                                                                        to sell
        goods
        goods and   services.2
                and services.'

        18.
        18.     The No-Poach
                The No-Poach Agreement
                             Agreement at
                                       at issue
                                          issue in this case
                                                in this case reduced competition for
                                                             reduced competition for

Engineers
Engineers and, as aa result,
          and, as    result, it
                             it reduced
                                reduced Plaintiff’s
                                        Plaintiff's job
                                                    job mobility and enabled
                                                        mobility and enabled Defendants
                                                                             Defendants to
                                                                                        to

pay
pay their
    their employees,
          employees, including
                     including members of the
                               members of the Class,
                                              Class, less
                                                     less than
                                                          than they would have
                                                               they would      been paid
                                                                          have been paid



11 See ,, Dep’t
          Dep't of Justice Antitrust
                of Justice Antitrust Div.  and Fed.
                                      Div. and         Trade Comm'n,
                                                 Fed. Trade  Comm’n, Antitrust
                                                                        Antitrust Guidance for
                                                                                  Guidance for
 Human     Resource    Professionals, at 4 (Oct.
 Human Resource Professionals, at 4 (Oct. 2016),   2016),
 https://www.ftc.gov/system/files/documents/public_statements/992623/ftc-
 https://www.ftc.gov/system/files/documents/public_statements/992623/ftc-
 doj_hr_guidance_final_10-20-16.pdf (last
doj_hr_guidance_final_10-20-16.pdf          (last visited
                                                  visited Dec.
                                                          Dec. 25,
                                                               25, 2021).
                                                                   2021).
 2
        No-Poach Approach,
   See No-Poach
2 See              Approach, Dep't
                               Dep’t of
                                      of Justice
                                         Justice Antitrust
                                                  Antitrust Div. (Sept. 30,
                                                            Div. (Sept. 30, 2019),
                                                                            2019),
 https://www.justice.gov/atr/division-operations/division-update-spring-2019/no-poach-
 https://www.justice.gov/atr/d ivision-operations/d ivision-update-spring-2019/no-poach-
 approach    (last visited
 approach (last    visited Dec.
                           Dec. 25,
                                25, 2021)
                                    2021)..

                                                  7
                                                  7
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absent the No-Poach
absent the No-Poach Agreement.
                    Agreement. The
                               The No-Poach
                                   No-Poach Agreement
                                            Agreement is
                                                      is aa per se unlawful
                                                            per se unlawful restraint
                                                                            restraint

of trade
of trade under
         under the
               the federal
                   federal antitrust
                           antitrust laws
                                     laws and
                                          and injured
                                              injured Plaintiff
                                                      Plaintiff and
                                                                and the
                                                                    the members of the
                                                                        members of the

Class.
Class.

         19.
         19.    Defendants’ conspiracy
                Defendants' conspiracy thus
                                       thus has
                                            has restricted trade and
                                                restricted trade and is
                                                                     is per se unlawful
                                                                               unlawful

under federal law.
under federal law. Plaintiff seeks injunctive
                   Plaintiff seeks injunctive relief
                                              relief and damages for
                                                     and damages for violations
                                                                     violations of
                                                                                of Section
                                                                                   Section

One of the
One of the Sherman
           Sherman Act,
                   Act, 15
                        15 U.S.C. § 1.
                           U.S.C. § 1.

II.
II.      Jurisdiction and
         Jurisdiction and Venue.
                          Venue.

         20.
         20.    Plaintiff brings this
                Plaintiff brings      action to
                                 this action to recover
                                                recover treble
                                                        treble damages,
                                                               damages, costs of suit,
                                                                        costs of suit, and
                                                                                       and

reasonable
reasonable attorneys’
           attorneys' fees,
                      fees, arising from Defendants'
                            arising from Defendants’ violations
                                                     violations of
                                                                of Section
                                                                   Section One of the
                                                                           One of the

Sherman Act,
Sherman Act, 15
             15 U.S.C. § 1.
                U.S.C. § 1.

         21.
         21.    The Court
                The Court has subject matter
                          has subject matter jurisdiction
                                             jurisdiction pursuant to §§
                                                          pursuant to §§ 44 and
                                                                            and 16 of the
                                                                                16 of the

Clayton Act, 15
Clayton Act, 15 U.S.C. §§ 15
                U.S.C. §§ 15 and
                             and 26,
                                 26, and
                                     and 28
                                         28 U.S.C. §§ 1331
                                            U.S.C. §§      and 1337.
                                                      1331 and 1337.

         22.
         22.    Venue is
                Venue is proper
                         proper in
                                in this
                                   this judicial district pursuant
                                        judicial district pursuant to Section 12
                                                                   to Section    of the
                                                                              12 of the

Clayton Act, 15
Clayton Act, 15 U.S.C. § 22,
                U.S.C. §     and 28
                         22, and 28 U.S.C. § 1391(b)
                                    U.S.C. §         because aa substantial
                                             1391(b) because    substantial part of the
                                                                            part of the

events giving
events giving rise
              rise to
                   to Plaintiff’s
                      Plaintiff's claims occurred in
                                  claims occurred in this
                                                     this District
                                                          District and
                                                                   and aa substantial
                                                                          substantial portion of
                                                                                      portion of

the
the affected
    affected interstate trade and
             interstate trade     commerce was
                              and commerce was carried
                                               carried out
                                                       out in
                                                           in this
                                                              this District.
                                                                   District.

III.
III.     The Parties.
         The Parties.

         A.
         A.     Plaintiff.
                Plaintiff.




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       23.
       23.     Plaintiff Matthew Cydylo
               Plaintiff Matthew Cydylo is
                                        is aa citizen
                                              citizen and
                                                      and resident of the
                                                          resident of     State of
                                                                      the State of

Connecticut. Mr. Cydylo
Connecticut. Mr.        was employed
                 Cydylo was employed as
                                     as an Engineer for
                                        an Engineer for QuEST
                                                        QuEST beginning
                                                              beginning in April
                                                                        in April

2014
2014 until July 2016,
     until July       working on
                2016, working on P&W
                                 P&W projects. Mr. Cydylo
                                     projects. Mr.        was injured
                                                   Cydylo was injured in
                                                                      in his business
                                                                         his business

or property
or property by
            by reason of the
               reason of the violation
                             violation alleged
                                       alleged herein.
                                               herein.

       B.
       B.      Defendants.
               Defendants.

       24.
       24.     On information
               On             and belief,
                  information and belief, Defendant
                                          Defendant P&W
                                                    P&W is
                                                        is identified
                                                           identified as
                                                                      as Company A
                                                                         Company A

in
in the
   the DCIS Affidavit and
       DCIS Affidavit and December
                          December 15
                                   15 Indictment.
                                      Indictment. P&W
                                                  P&W is
                                                      is aa division
                                                            division of
                                                                     of Raytheon
                                                                        Raytheon

Technologies Corporation
Technologies Corporation and
                         and is one of
                             is one of the largest aerospace
                                       the largest aerospace engine design,
                                                             engine design,

manufacture,
manufacture, and service companies
             and service companies in
                                   in the United States.
                                      the United States. P&W
                                                         P&W has over 36,000
                                                             has over 36,000

employees, including
employees, including thousands of Engineers.
                     thousands of Engineers. P&W
                                             P&W relies
                                                 relies upon
                                                        upon different sources of
                                                             different sources of labor
                                                                                  labor

to design, manufacture,
to design,              and service
           manufacture, and service its
                                    its aerospace
                                        aerospace products,
                                                  products, including by hiring
                                                            including by hiring Engineers
                                                                                Engineers

directly and
directly and through outsource engineering.
             through outsource engineering. In
                                            In an outsource arrangement,
                                               an outsource arrangement, an outsource
                                                                         an outsource

engineering supply
engineering supply company
                   company (a
                           (a Supplier) enters
                                        enters into
                                               into an agreement with
                                                    an agreement with P&W
                                                                      P&W to complete
                                                                          to complete

aa particular
   particular project,
              project, assigns Engineers from
                       assigns Engineers from among
                                              among its own employees
                                                    its own employees to complete that
                                                                      to complete that

project,
project, and
         and receives
             receives an
                      an agreed-upon
                         agreed-upon payment
                                     payment from
                                             from P&W
                                                  P&W for such work.
                                                      for such work. P&W,
                                                                     P&W, thus,
                                                                          thus,

competes with
competes with the Supplier Defendants
              the Supplier Defendants to
                                      to recruit
                                         recruit and
                                                 and hire
                                                     hire Engineers, while at
                                                          Engineers, while at the same
                                                                              the same

time outsourcing Engineers
time outsourcing Engineers from
                           from the Supplier Defendants.
                                the Supplier Defendants.




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        25.
        25.      Defendant QuEST
                 Defendant QuEST is
                                 is identified
                                    identified as
                                               as Company B in
                                                  Company B in the
                                                               the DCIS Affidavit and
                                                                   DCIS Affidavit and

the
the December
    December 15
             15 Indictment. QuEST is
                Indictment. QuEST is an Ohio corporation
                                     an Ohio corporation with
                                                         with aa principal
                                                                 principal place of
                                                                           place of

business in
business in East Hartford, Connecticut.
            East Hartford, Connecticut. QuEST supplies Engineers
                                        QuEST supplies Engineers who
                                                                 who worked
                                                                     worked on
                                                                            on

projects
projects for
         for P&W and other
             P&W and other aerospace
                           aerospace firms on an
                                     firms on    outsource basis.
                                              an outsource basis. QuEST
                                                                  QuEST competes
                                                                        competes

with P&W
with     as well
     P&W as well as
                 as the other Supplier
                    the other Supplier Defendants to recruit
                                       Defendants to recruit and
                                                             and hire
                                                                 hire Engineers.
                                                                      Engineers.

QuEST also competes
QuEST also competes with
                    with other
                         other Supplier
                               Supplier Defendants
                                        Defendants for outsource work
                                                   for outsource work from
                                                                      from P&W
                                                                           P&W

and does so
and does so on
            on the basis of,
               the basis of, among other things,
                             among other things, price.
                                                 price.

        26.
        26.      Defendant Belcan
                 Defendant Belcan is
                                  is identified as Company
                                     identified as Company C
                                                           C in the DCIS
                                                             in the DCIS Affidavit
                                                                         Affidavit and
                                                                                   and

the
the December
    December 15
             15 Indictment. Belcan is
                Indictment. Belcan is an Ohio corporation
                                      an Ohio corporation with
                                                          with aa principal
                                                                  principal place of
                                                                            place of

business in
business    Windsor, Connecticut.
         in Windsor, Connecticut. Belcan supplies Engineers
                                  Belcan supplies           who work
                                                  Engineers who work on
                                                                     on projects for
                                                                        projects for

P&W on an
P&W on    outsource basis.
       an outsource basis. Belcan competes with
                           Belcan competes with P&W
                                                P&W as well as
                                                    as well as the other Supplier
                                                               the other Supplier

Defendants to recruit
Defendants to         and hire
              recruit and      engineers. Belcan
                          hire engineers. Belcan also competes with
                                                 also competes with other
                                                                    other Supplier
                                                                          Supplier

Defendants
Defendants for outsource work
           for outsource work from
                              from P&W and does
                                   P&W and does so
                                                so on
                                                   on the basis of,
                                                      the basis of, among other
                                                                    among other

things,
things, price.
        price.

        27.
        27.      Defendant Cyient
                 Defendant Cyient is
                                  is identified
                                     identified as Company D
                                                as Company D in the DCIS
                                                             in the DCIS Affidavit
                                                                         Affidavit and
                                                                                   and

the
the December
    December 15
             15 Indictment. Cyient, formerly
                Indictment. Cyient,          known as
                                    formerly known as Infotech
                                                      Infotech Enterprises
                                                               Enterprises Limited,
                                                                           Limited, is
                                                                                    is

aa California
   California corporation
              corporation with
                          with aa principal
                                  principal place of business
                                            place of business in East Hartford,
                                                              in East Hartford, Connecticut.
                                                                                Connecticut.

Cyient supplies Engineers
Cyient supplies           who worked
                Engineers who worked on
                                     on projects for P&W
                                        projects for     on an
                                                     P&W on    outsource basis.
                                                            an outsource basis.




                                            10
                                            10
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Cyient competes with
Cyient competes with P&W as well
                     P&W as well as the other
                                 as the other Supplier
                                              Supplier Defendants
                                                       Defendants to
                                                                  to recruit
                                                                     recruit and
                                                                             and hire
                                                                                 hire

Engineers. Cyient also
Engineers. Cyient also competes
                       competes with
                                with other
                                     other Supplier
                                           Supplier Defendants
                                                    Defendants for outsource work
                                                               for outsource work from
                                                                                  from

P&W
P&W and does so
    and does so on
                on the
                   the basis
                       basis of,
                             of, among other things,
                                 among other things, price.
                                                     price.

        28.
        28.     Defendant PSI
                Defendant PSI is
                              is identified as Company
                                 identified as Company E
                                                       E in the DCIS
                                                         in the      Affidavit and
                                                                DCIS Affidavit and the
                                                                                   the

December
December 15
         15 Indictment.
            Indictment. PSI
                        PSI is
                            is aa Florida
                                  Florida corporation
                                          corporation with
                                                      with offices
                                                           offices in Jupiter, Florida.
                                                                   in Jupiter, Florida. PSI
                                                                                        PSI

supplies Engineers
supplies           who worked
         Engineers who worked on
                              on projects for P&W
                                 projects for     on an
                                              P&W on    outsource basis.
                                                     an outsource basis. PSI
                                                                         PSI

competes with
competes with P&W
              P&W as well as
                  as well    the other
                          as the other Supplier
                                       Supplier Defendants to recruit
                                                Defendants to recruit and
                                                                      and hire
                                                                          hire

Engineers.
Engineers. PSI
           PSI also competes with
               also competes with other
                                  other Supplier
                                        Supplier Defendants
                                                 Defendants for outsource work
                                                            for outsource work from
                                                                               from

P&W
P&W and does so
    and does so on
                on the
                   the basis
                       basis of,
                             of, among other things,
                                 among other things, price.
                                                     price.

        29.
        29.     Defendant Agilis
                Defendant Agilis is
                                 is identified
                                    identified as Company F
                                               as Company F in the DCIS
                                                            in the DCIS Affidavit
                                                                        Affidavit and
                                                                                  and

the
the December
    December 15
             15 Indictment. Agilis is
                Indictment. Agilis is aa Florida
                                         Florida corporation
                                                 corporation with
                                                             with aa principal
                                                                     principal place of
                                                                               place of

business in
business in Palm
            Palm Beach
                 Beach Gardens,
                       Gardens, Florida. Agilis supplies
                                Florida. Agilis supplies employees who worked
                                                         employees who worked on
                                                                              on

projects
projects for
         for P&W on an
             P&W on    outsource basis.
                    an outsource basis. Agilis
                                        Agilis competes with P&W
                                               competes with P&W as well as
                                                                 as well as the other
                                                                            the other

Supplier Defendants
Supplier Defendants to
                    to recruit
                       recruit and
                               and hire engineers. Agilis
                                   hire engineers. Agilis also
                                                          also competes with other
                                                               competes with other

Supplier Defendants
Supplier Defendants for outsource work
                    for outsource work from
                                       from P&W
                                            P&W and does so
                                                and does so on
                                                            on the basis of,
                                                               the basis of, among
                                                                             among

other things,
other things, price.
              price.

        30.
        30.     Defendant Mahesh
                Defendant Mahesh Patel
                                 Patel is
                                       is aa natural
                                             natural person and resident
                                                     person and          of Connecticut.
                                                                resident of Connecticut.

He worked as
He worked    Manager and
          as Manager and (later)
                         (later) Director of the
                                 Director of the unit within P&W
                                                 unit within P&W in charge of
                                                                 in charge of




                                            11
                                            11
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managing the relationships
managing the               between P&W
             relationships between P&W and
                                       and its Suppliers. Within
                                           its Suppliers. Within that
                                                                 that unit,
                                                                      unit, he was the
                                                                            he was the

highest-ranking
highest-ranking employee, and managed
                employee, and managed aa team of associates
                                         team of            from his
                                                 associates from     office in
                                                                 his office in East
                                                                               East

Hartford,
Hartford, Connecticut. Mr. Patel
          Connecticut. Mr. Patel and
                                 and his
                                     his associates frequently communicated
                                         associates frequently              with
                                                               communicated with

representatives of the
representatives of     Suppliers, controlled
                   the Suppliers, controlled the
                                             the retention, scope of
                                                 retention, scope of work,
                                                                     work, and
                                                                           and payments
                                                                               payments

for Supplier projects,
for Supplier projects, and monitored the
                       and monitored the quality
                                         quality of
                                                 of Supplier
                                                    Supplier work
                                                             work and
                                                                  and progress on their
                                                                      progress on their

projects
projects for
         for P&W.
             P&W. December
                  December 15 Indictment, 1¶1[ 10.
                           15 Indictment,          Mr. Patel
                                               10. Mr.       was also
                                                       Patel was also involved
                                                                      involved in
                                                                               in master
                                                                                  master

contract negotiations
contract              between Suppliers
         negotiations between Suppliers and
                                        and Raytheon,
                                            Raytheon, P&W’s
                                                      P&W's parent company, which
                                                            parent company, which

provided
provided for maximum pricing
         for maximum pricing for each Supplier
                             for each Supplier to
                                               to P&W.
                                                  P&W. Id. Mr. Patel
                                                       Id. Mr.       left his
                                                               Patel left his

employment at
employment at P&W
              P&W in March 2020.
                  in March       Mr. Patel
                           2020. Mr. Patel participated
                                           participated in, ordered, authorized
                                                        in, ordered,            and
                                                                     authorized and

assumed
assumed aa direct
           direct role
                  role in
                       in the
                          the illegal conduct alleged.
                              illegal conduct alleged. He knew of
                                                       He knew of and
                                                                  and participated
                                                                      participated in
                                                                                   in

communications with
communications with counterparts
                    counterparts working
                                 working on
                                         on behalf
                                            behalf of
                                                   of other
                                                      other participants
                                                            participants in the
                                                                         in the

conspiracy and
conspiracy     was aware
           and was aware of
                         of others
                            others who
                                   who did
                                       did so
                                           so as well. When
                                              as well. When engaged
                                                            engaged in
                                                                    in the
                                                                       the actions set
                                                                           actions set

forth in
forth in this complaint, Mr.
         this complaint, Mr. Patel was acting
                             Patel was acting on
                                              on behalf
                                                 behalf of
                                                        of P&W while engaged
                                                           P&W while engaged in
                                                                             in the
                                                                                the

company’s management,
company's             direction, or
          management, direction, or control,
                                    control, or
                                             or transaction of its
                                                transaction of     business or
                                                               its business or affairs.
                                                                               affairs.

During the relevant
During the relevant period, Mr. Patel
                    period, Mr. Patel participated
                                      participated in the conspiracy
                                                   in the conspiracy and committed overt
                                                                     and committed overt

acts
acts in
     in furtherance
        furtherance thereof.
                    thereof.

       31.
       31.     Defendant Robert
               Defendant Robert Harvey
                                Harvey is
                                       is aa natural
                                             natural person
                                                     person and
                                                            and resident of Connecticut.
                                                                resident of Connecticut.

Mr. Harvey
Mr. Harvey has been the
           has been the President-Global Business Head
                        President-Global Business Head of
                                                       of QuEST
                                                          QuEST Global since 2019
                                                                Global since 2019




                                            12
                                            12
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and
and is based in
    is based in East
                East Hartford,
                     Hartford, Connecticut. Mr. Harvey
                               Connecticut. Mr.        served as
                                                Harvey served    QuEST Global’s
                                                              as QuEST          Senior
                                                                       Global's Senior

Vice President
Vice           from 2010
     President from 2010 to
                         to 2014. Thereafter, he
                            2014. Thereafter,    served as
                                              he served as President-Strategic Accounts
                                                           President-Strategic Accounts

at
at QuEST
   QuEST Global
         Global from
                from 2014
                     2014 to
                          to 2019. Mr. Harvey
                             2019. Mr. Harvey knew of and
                                              knew of and participated
                                                          participated in
                                                                       in

communications with
communications with counterparts
                    counterparts working
                                 working on
                                         on behalf
                                            behalf of
                                                   of other
                                                      other participants
                                                            participants in the
                                                                         in the

conspiracy and
conspiracy     was aware
           and was aware of
                         of others
                            others who
                                   who did
                                       did so
                                           so as well. When
                                              as well. When engaged
                                                            engaged in
                                                                    in the
                                                                       the actions set
                                                                           actions set

forth in
forth in this complaint, Mr.
         this complaint, Mr. Harvey was acting
                             Harvey was        on behalf
                                        acting on behalf of
                                                         of QuEST
                                                            QuEST Global while engaged
                                                                  Global while engaged

in
in the company’s management,
   the company's             direction, or
                 management, direction, or control,
                                           control, or
                                                    or transaction of its
                                                       transaction of     business or
                                                                      its business or

affairs.
affairs. He
         He had substantial responsibilities
            had substantial                  on behalf
                            responsibilities on        of QuEST
                                                behalf of QuEST Global
                                                                Global to
                                                                       to maintain and
                                                                          maintain and

advance
advance his employer’s business
        his employer's business relationship with P&W,
                                relationship with P&W, and substantial responsibilities
                                                       and substantial responsibilities

with respect
with respect to the management
             to the management of
                               of hiring
                                  hiring and
                                         and recruiting
                                             recruiting at QuEST Global.
                                                        at QuEST         Mr. Harvey
                                                                 Global. Mr. Harvey

had communications with
had communications with Mr.
                        Mr. Patel and other
                            Patel and other co-conspirators
                                            co-conspirators on
                                                            on these subjects. On
                                                               these subjects. On

December
December 15, Mr. Harvey
         15, Mr. Harvey was
                        was indicted and charged
                            indicted and charged with
                                                 with one
                                                      one count
                                                          count of
                                                                of violating
                                                                   violating the
                                                                             the

Section One
Section One of
            of the Sherman Act.
               the Sherman Act.

       32.     Defendant Harpreet Wasan is a natural person and resident of Connecticut.

Mr. Wasan began working at QuEST Global in 2015 as the company's
                                                       company’s Vice President –-

AeroEngines/Strategic Client
AeroEngines/Strategic Client Partner. His job
                             Partner. His     was based
                                          job was based in Hartford, Connecticut.
                                                        in Hartford, Connecticut. Between
                                                                                  Between

2017
2017 and
     and 2019, Mr. Wasan
         2019, Mr. Wasan began
                         began to serve as
                               to serve    QuEST Global's
                                        as QuEST Global’s Vice
                                                          Vice President of the
                                                               President of     Asia
                                                                            the Asia

Pacific Region, and
Pacific Region, and was
                    was based
                        based in Tokyo, Japan.
                              in Tokyo, Japan. Mr.
                                               Mr. Wasan
                                                   Wasan left QuEST Global
                                                         left QuEST Global in January
                                                                           in January

2021. Mr. Wasan
2021. Mr. Wasan knew
                knew of
                     of and
                        and participated
                            participated in communications with
                                         in communications with counterparts working on
                                                                counterparts working on


                                           13
                                           13
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behalf of other participants in the conspiracy and was aware of others who did so as well.

When engaged in the actions set forth in this complaint, Mr. Wasan was acting on behalf of

QuEST Global while engaged in the company’s
                                  company's management, direction, or control, or

transaction of its business or affairs. He had substantial responsibilities on behalf of QuEST

Global to maintain and advance his employer's
                                   employer’s business relationship with P&W, and

substantial responsibilities with respect to the management of hiring and recruiting at QuEST

Global. Mr. Wasan had communications with Mr. Patel and other co-conspirators on these

subjects. On
          On December
             December 15, Mr. Wasan
                      15, Mr. Wasan was
                                    was indicted and charged
                                        indicted and charged with
                                                             with one
                                                                  one count of
                                                                      count of

violating the
violating     Section One
          the Section     of the
                      One of     Sherman Act.
                             the Sherman Act.

        33.
        33.     Defendant Steve
                Defendant Steve Houghtaling
                                Houghtaling is
                                            is aa natural
                                                  natural person
                                                          person and
                                                                 and resident of
                                                                     resident of

Connecticut.
Connecticut. In
             In 2013,
                2013, he began working
                      he began working for
                                       for Belcan
                                           Belcan as
                                                  as aa General Manager, and
                                                        General Manager, and was
                                                                             was

promoted
promoted to Vice President
         to Vice President in
                           in 2015. Since 2019,
                              2015. Since 2019, he
                                                he has served as
                                                   has served    Belcan’s Senior
                                                              as Belcan's Senior Vice
                                                                                 Vice

President, working primarily
President, working primarily from an office
                             from an office in Windsor, Connecticut.
                                            in Windsor,              Mr. Houghtaling
                                                        Connecticut. Mr. Houghtaling

knew of
knew of and
        and participated
            participated in communications with
                         in communications with counterparts
                                                counterparts working
                                                             working on
                                                                     on behalf
                                                                        behalf of
                                                                               of

other participants
other participants in the conspiracy
                   in the conspiracy and was aware
                                     and was       of others
                                             aware of others who
                                                             who did
                                                                 did so
                                                                     so as well. When
                                                                        as well. When

engaged in
engaged in the
           the actions set forth
               actions set forth in
                                 in this complaint, Mr.
                                    this complaint, Mr. Houghtaling was acting
                                                        Houghtaling was        on behalf
                                                                        acting on behalf

of Belcan
of        while engaged
   Belcan while engaged in the company's
                        in the company’s management, direction, or
                                         management, direction, or control,
                                                                   control, or
                                                                            or

transaction of its
transaction of     business or
               its business or affairs.
                               affairs. He
                                        He had substantial responsibilities
                                           had substantial                  on behalf
                                                           responsibilities on behalf of
                                                                                      of

Belcan
Belcan to
       to maintain and advance
          maintain and advance his
                               his employer’s business relationship
                                   employer's business              with P&W,
                                                       relationship with P&W, and
                                                                              and


                                              14
                                              14
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substantial responsibilities
substantial                  with respect
            responsibilities with respect to the management
                                          to the management of
                                                            of hiring and recruiting
                                                               hiring and recruiting at
                                                                                     at

Belcan. Mr. Houghtaling
Belcan. Mr. Houghtaling had communications with
                        had communications with Mr.
                                                Mr. Patel
                                                    Patel and other co-conspirators
                                                          and other co-conspirators

on these
on       subjects. On
   these subjects. On December
                      December 15, Mr. Houghtaling
                               15, Mr. Houghtaling was
                                                   was indicted
                                                       indicted and charged with
                                                                and charged with one
                                                                                 one

count of
count of violating
         violating the
                   the Section
                       Section One
                               One of
                                   of the Sherman Act.
                                      the Sherman Act.

        34.
        34.     Defendant Thomas
                Defendant Thomas Edwards
                                 Edwards is
                                         is aa natural
                                               natural person
                                                       person and
                                                              and resident of
                                                                  resident of

Connecticut,
Connecticut, and
             and is currently based
                 is currently based in New Fairfield,
                                    in New            Connecticut. Mr.
                                           Fairfield, Connecticut. Mr. Edwards was the
                                                                       Edwards was the

President of Cyient’s
President of          North American
             Cyient's North American Operations
                                     Operations from
                                                from 2013-2014, and worked
                                                     2013-2014, and worked

principally
principally from
            from an
                 an office
                    office in
                           in East Hartford, Connecticut.
                              East Hartford, Connecticut. Prior
                                                          Prior to
                                                                to that, Mr. Edwards
                                                                   that, Mr. Edwards

served as
served as Cyient’s Vice President
          Cyient's Vice           of Engineering,
                        President of              Aerospace from
                                     Engineering, Aerospace from July
                                                                 July 2010 to March
                                                                      2010 to March

2013. Mr. Edwards
2013. Mr. Edwards knew of and
                  knew of and participated
                              participated in
                                           in communications with counterparts
                                              communications with counterparts

working on
working on behalf
           behalf of
                  of other
                     other participants
                           participants in the conspiracy
                                        in the conspiracy and
                                                          and was
                                                              was aware of others
                                                                  aware of others who
                                                                                  who

did so
did so as
       as well.
          well. When
                When engaged
                     engaged in
                             in the
                                the actions set forth
                                    actions set forth in
                                                      in this complaint, Mr.
                                                         this complaint, Mr. Edwards was
                                                                             Edwards was

acting on behalf
acting on        of Cyient
          behalf of Cyient while
                           while engaged
                                 engaged in
                                         in the company’s management,
                                            the company's             direction, or
                                                          management, direction, or

control, or
control, or transaction of its
            transaction of     business or
                           its business or affairs.
                                           affairs. He
                                                    He had substantial responsibilities
                                                       had substantial                  on
                                                                       responsibilities on

behalf of
behalf of Cyient
          Cyient to
                 to maintain
                    maintain and
                             and advance
                                 advance his employer’s business
                                         his employer's business relationship with
                                                                 relationship with

P&W, and substantial
P&W, and substantial responsibilities with respect
                     responsibilities with respect to
                                                   to the
                                                      the management of hiring
                                                          management of        and
                                                                        hiring and

recruiting
recruiting at Cyient. Mr.
           at Cyient. Mr. Edwards
                          Edwards had communications with
                                  had communications with Mr.
                                                          Mr. Patel and other
                                                              Patel and other co-
                                                                              co-




                                              15
                                              15
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conspirators on
conspirators on these subjects. On
                these subjects.    December 15,
                                On December     Mr. Edwards
                                            15, Mr.         was indicted
                                                    Edwards was indicted and
                                                                         and charged
                                                                             charged

with one
with one count
         count of violating the
               of violating the Section
                                Section One of the
                                        One of     Sherman Act.
                                               the Sherman Act.

        35.
        35.     Defendant Gary Prus is a natural person and resident of Florida. He is

currently the Chief Operating Officer of PSI. Mr. Prus knew of and participated in

communications with
communications with counterparts working on
                    counterparts working on behalf
                                            behalf of
                                                   of other
                                                      other participants
                                                            participants in
                                                                         in the
                                                                            the conspiracy
                                                                                conspiracy

and was aware
and was       of others
        aware of others who
                        who did
                            did so
                                so as well. When
                                   as well. When engaged
                                                 engaged in
                                                         in the
                                                            the actions set forth
                                                                actions set forth in
                                                                                  in this
                                                                                     this

complaint, Mr.
complaint, Mr. Prus
               Prus was
                    was acting on behalf
                        acting on behalf of
                                         of PSI while engaged
                                            PSI while engaged in
                                                              in the company’s
                                                                 the company's

management, direction, or
management, direction, or control,
                          control, or
                                   or transaction of its
                                      transaction of its business or affairs.
                                                         business or affairs. He
                                                                              He had substantial
                                                                                 had substantial

responsibilities on behalf of PSI to maintain and advance his employer’s
                                                              employer's business relationship

with P&W, and substantial responsibilities with respect to the management of hiring and

recruiting at PSI. Mr. Prus had communications with Mr. Patel and other co-conspirators on

                On December
these subjects. On December 15, Mr. Prus
                            15, Mr.      was indicted
                                    Prus was indicted and charged with
                                                      and charged with one
                                                                       one count
                                                                           count of
                                                                                 of

violating the
violating     Section One
          the Section     of the
                      One of     Sherman Act.
                             the Sherman Act.

        36.
        36.     Defendant Frank O'Neill
                                O’Neill is a natural person and resident of Florida. He has

served as Agilis's
          Agilis’s President and CEO since 1993. Mr. O'Neill
                                                     O’Neill knew of and participated in

communications with counterparts working on behalf of other participants in the conspiracy

and was aware
and was       of others
        aware of others who
                        who did
                            did so
                                so as well. When
                                   as well. When engaged
                                                 engaged in
                                                         in the
                                                            the actions set forth
                                                                actions set forth in
                                                                                  in this
                                                                                     this

complaint, Mr.
complaint, Mr. O'Neill
               O’Neill was
                       was acting on behalf
                           acting on behalf of
                                            of Agilis
                                               Agilis while
                                                      while engaged
                                                            engaged in
                                                                    in the company’s
                                                                       the company's

management, direction, or
management, direction, or control,
                          control, or
                                   or transaction of its
                                      transaction of its business or affairs.
                                                         business or affairs. He
                                                                              He had substantial
                                                                                 had substantial



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                                              16
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responsibilities on behalf of Agilis to maintain and advance his employer’s
                                                                 employer's business

relationship with P&W, and substantial responsibilities with respect to the management of

hiring and recruiting at Agilis. Mr. O'Neill
                                     O’Neill had communications with Mr. Patel and other co-

conspirators on these subjects. Mr. O'Neill
                                    O’Neill is the individual identified as “Co-Conspirator 8”
                                                                            "Co-Conspirator 8"

in the DCIS Affidavit.

        37.
        37.     Defendants’ actions
                Defendants' actions described
                                    described herein are part
                                              herein are      of, and
                                                         part of, and in furtherance of,
                                                                      in furtherance of,

the
the unlawful conduct alleged.
    unlawful conduct          These actions
                     alleged. These         were authorized,
                                    actions were             ordered, and/or
                                                 authorized, ordered, and/or undertaken
                                                                             undertaken

by Defendants’
by             various officers,
   Defendants' various officers, agents, employees, or
                                 agents, employees, or other
                                                       other representatives while actively
                                                             representatives while actively

engaged in
engaged in the
           the management of Defendants'
               management of Defendants’ affairs (or that
                                         affairs (or      of their
                                                     that of their predecessors-in-
                                                                   predecessors-in-

interest) within the
interest) within     course and
                 the course     scope of
                            and scope of their duties and
                                         their duties and employment, and/or with
                                                          employment, and/or with

Defendants’ actual and/or
Defendants' actual and/or apparent authority.
                          apparent authority.

        38.
        38.     Various persons,
                Various persons, partnerships, sole proprietors,
                                 partnerships, sole              firms, corporations,
                                                    proprietors, firms, corporations, and
                                                                                      and

individuals
individuals not
            not named
                named as
                      as defendants
                         defendants in
                                    in this lawsuit, the
                                       this lawsuit, the identities of which
                                                         identities of which are
                                                                             are presently
                                                                                 presently

unknown,
unknown, have
         have participated
              participated as co-conspirators with
                           as co-conspirators with Defendants
                                                   Defendants in
                                                              in the offenses alleged
                                                                 the offenses alleged in
                                                                                      in

this complaint and
this complaint and have
                   have performed
                        performed acts
                                  acts and
                                       and made statements in
                                           made statements    furtherance of
                                                           in furtherance of the
                                                                             the No-
                                                                                 No-

Poach Agreement and
Poach Agreement     other anticompetitive
                and other anticompetitive conduct.
                                          conduct.

        39.
        39.     When this
                When      complaint refers
                     this complaint refers to
                                           to any act, deed,
                                              any act, deed, or
                                                             or transaction of any
                                                                transaction of any

corporation or
corporation or limited
               limited liability
                       liability entity,
                                 entity, the allegation means
                                         the allegation means that the corporation
                                                              that the corporation or
                                                                                   or limited
                                                                                      limited

liability entity acted
liability entity acted by
                       by or
                          or through
                             through its officers, directors,
                                     its officers, directors, agents,
                                                              agents, employees, or
                                                                      employees, or


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                                              17
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representatives while they
representatives while they were
                           were actively
                                actively engaged
                                         engaged in
                                                 in the
                                                    the management, direction, or
                                                        management, direction, or of
                                                                                  of the
                                                                                     the

corporation’s or
corporation's or limited
                 limited liability
                         liability entity’s business.
                                   entity's business.

IV.
IV.     Factual allegations.
        Factual allegations.

        A.
        A.      Trade and
                Trade and Commerce.
                          Commerce.

        40.
        40.     During the
                During the Class
                           Class Period (defined Below),
                                 Period (defined Below), Defendants
                                                         Defendants employed
                                                                    employed members
                                                                             members

of the
of the Proposed
       Proposed Class
                Class in,
                      in, among other places,
                          among other places, Connecticut, Vermont, Massachusetts,
                                              Connecticut, Vermont, Massachusetts,

Illinois, Ohio, Georgia,
Illinois, Ohio, Georgia, Florida,
                         Florida, Puerto Rico, Kentucky,
                                  PuertoRico,  Kentucky, and
                                                         and throughout
                                                             throughout the
                                                                        the United
                                                                            United

States, including
States, including in
                  in this District.
                     this District.

        41.
        41.     The No-Poach
                The No-Poach Agreement
                             Agreement has substantially affected
                                       has substantially affected interstate commerce
                                                                  interstate commerce

and
and has caused antitrust
    has caused antitrust injury
                         injury throughout the United
                                throughout the United States.
                                                      States.

        B.
        B.      The Market
                The Market for Aerospace Engineering
                           for Aerospace Engineering Services
                                                     Services in
                                                              in the
                                                                 the United
                                                                     United States.
                                                                            States.

        42.
        42.     The No-Poach
                The No-Poach Agreement
                             Agreement is     se illegal
                                          per se
                                       is per    illegal under
                                                         under the
                                                               the federal
                                                                   federal antitrust
                                                                           antitrust laws,
                                                                                     laws,

and thus, there
and thus, there is
                is no
                   no requirement
                      requirement to define the
                                  to define the relevant
                                                relevant product or geographic
                                                         product or geographic markets.
                                                                               markets.

As the
As     DOJ made
   the DOJ      clear in
           made clear in guidance
                         guidance it
                                  it issued
                                     issued in
                                            in 2016: “Naked wage-fixing
                                               2016: "Naked wage-fixing or
                                                                        or no-poaching
                                                                           no-poaching

agreements
agreements among employers, whether
           among employers, whether entered
                                    entered into directly or
                                            into directly or through
                                                             through aa third-party
                                                                        third-party

intermediary, are per se illegal
intermediary, are        illegal under
                                 under the
                                       the antitrust laws."33 But,
                                           antitrust laws.”   But, to
                                                                   to the extent aa relevant
                                                                      the extent    relevant




   Dep’t of
33 Dep't of Justice
            Justice Antitrust
                    Antitrust Div. and Fed.
                              Div. and      Trade Comm’n,
                                       Fed. Trade         supra note
                                                  Comm'n, supra note 11 at
                                                                        at 3.
                                                                           3.


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                                               18
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market need be defined for any reason, it is for the services of aerospace engineers in the

United States and its territories.

        43.
        43.     Aerospace Engineers design primarily aircraft, spacecraft, satellites, and

missiles. As a result, such Engineers may find employment in industries whose workers

design or build aircraft, missiles, systems for national defense, or spacecraft, primarily in

manufacturing, analysis and design, and research and development.

        44.
        44.     There were approximately 60,000 aerospace engineers employed in 2020,

and about 4,000 openings for aerospace engineers are projected each year, on average,

over the decade.

        45.
        45.     Engineers in the aerospace industry may be employed directly by

companies that design and manufacture aircraft, spacecraft, satellites, and missiles

(“Aerospace Firms”).
("Aerospace Firms"). They may also be employed by outsource engineering supply

companies –- Suppliers –- who enter agreements with Aerospace Companies to complete a

particular project, often referred to as a Statement of Work. When brought on to

complete an outsource work project, a Supplier assigns Engineers from among its own

employees to complete that project and the Supplier collects an agreed-upon payment

from the given Aerospace Firm.




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        46.
        46.     In this labor market for aerospace engineering services, Aerospace Firms

and Suppliers, including Defendants, are buyers, and Engineers, including Plaintiff and

the members of the Class, are sellers. In short, Aerospace Firms and Suppliers pay

compensation to Engineers for the Engineers’
                                  Engineers' services.

        47.
        47.     Defendants compete with one another to recruit and hire Engineers.

        48.
        48.     Suppliers compete with one another for outsource work projects from

Aerospace Firms, including on the basis of price. Labor costs for the Engineers employed

by Suppliers form one of the largest parts of the ultimate price that is quoted to

Aerospace Firms.

        49.
        49.     Engineers have highly specialized skills. Engineers graduate from

undergraduate and/or graduate engineering programs with engineering degrees—often

specific to aerospace engineering. Once in the workforce, Engineers further specialize

based on the work they do, including specializing in a category (e.g., software/systems

engineers, mechanical engineers, structural analysts), and within those categories, specific

to particular functions (e.g., specializing in aerodynamic fluid flow; structural design;

guidance, navigation and control; instrumentation and communication; and propulsion

and combustion). The aerospace application of these categories and functions is




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particular to aerospace engineering services and not directly transferable to other

engineering fields.

        50.     Because of the significant training and experience required to perform

aerospace engineering services, Engineers would not turn to other engineering

employment opportunities if a hypothetical monopsonist imposed a small but significant

non-transitory decrease in compensation.

        51.     Furthermore, as set forth herein, as Engineers become further specialized,

their skills both increase in value due to the scarcity of experienced aerospace engineers in

each specialty and increase in particular value to firms working on projects that

Engineers’
Engineers' specializations are focused on.

        52.     The relevant geographic market for the relevant market is the United

States and its territories.

        53.     Engineers in the United States and its territories do not see aerospace

engineering jobs abroad as a reasonable substitute for aerospace engineering jobs in the

United States and its territories. Such foreign positions are less desirable for numerous

reasons, including, without limitation, language barriers, visa requirements, significant

costs associated with moving abroad, and the significant distances such moves would

create between the Engineers and family members. Although foreign Engineers have




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immigrated to the United States to participate in the relevant market, on information

and belief, Engineers in the United States do not frequently take positions in the relevant

market outside of the United States.

       C.      Defendants have
                          have Market Power in the
                                               the Relevant Market.

       54.     Defendants have the ability, collectively, to profitably suppress

compensation to Engineers. That is, Defendants can impose a small but significant

decrease in pay or compensation without losing sufficient numbers of Engineers to defeat

the effects of the pay decrease. Likewise, Defendants can maintain pay below a

competitive level without losing sufficient numbers of Engineers to defeat the effects of

the pay decrease.

       55.     Thus, Defendants’
                     Defendants' demonstrated ability to profitably suppress

compensation is evidence of Defendants'
                            Defendants’ collective market power in the relevant market

described above.

       D.
       D.      Competition for
               Competition for Engineers
                               Engineers in
                                         in the
                                            the Absence
                                                Absence of
                                                        of aa No-Poach
                                                              No-Poach Agreement.
                                                                       Agreement.

       56.     In a properly functioning and lawfully competitive labor market, and but

for the unlawful No-Poach Agreement, Defendants would aggressively compete for

Engineers by recruiting and hiring from each other. Because experienced Engineers are

critical to Defendants’ ability to compete for and complete projects, in the absence of the
            Defendants'ability




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No-Poach Agreement, Defendants would compete with each other for the services of

skilled Engineers.

        57.
        57.     Active lateral recruiting is important in properly functioning labor

markets, in part because companies value satisfied employees who are good at their jobs,

leading them to perceive a rival company's
                                 company’s current employees as more qualified, harder

working, and more stable than candidates who are unemployed or actively seeking

employment outside their current jobs. Thus, a company seeking to hire a new employee

will lessen the risks associated with that hire by seeking to hire a rival’s
                                                                     rival's employee.

        58.     Competition for Engineers via recruiting and lateral hiring has a

significant impact on Engineers’
                      Engineers' mobility and compensation in several ways.

        59.
        59.     First, when companies employing Engineers become aware of attractive

outside opportunities for their Engineers, the threat of losing these employees to a

competitor encourages an employer to preemptively increase compensation to increase

morale and competitive positioning and ultimately to retain valuable labor. If certain

employers do not react to competition, their Engineers may be receptive to recruiting by a

rival employer or seek positions that offer more generous compensation and benefits

elsewhere.




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        60.      Once an Engineer has received an offer from a rival employer, retaining

that employee may require a disruptive increase in compensation for one individual.

Increasing information and compensation for one person will have more widespread

salary effects across a company and market. One such mechanism for this widespread

effect is salary discovery, in which information about competing salaries causes higher

compensation even among those employees not actively looking to switch employers.

Another such mechanism is "internal
                          “internal equity"
                                    equity” within organizations, where employers

endeavor to maintain parity in pay levels across employees within the same categories, as

well as maintain certain compensation relationships among employees across different job

categories.

        61.      In a market untainted by their anticompetitive coordination, Defendants

would have had an incentive to preempt lateral departures by paying their Engineers well

enough that they would become less likely to seek or pursue outside opportunities.

Preemptive retention measures would therefore have led to increased compensation for

all Engineers.

        62.      Second, the availability of desirable positions at competing employers

forces employers to increase compensation to retain Engineers who are likely to join a

competitor. This can occur both when a particular Engineer or group of Engineers




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becomes interested in switching employers and the current employer responds by offering

a compensation increase to retain them, or when an employer responds to overall

attrition rates among its Engineers by increasing compensation levels. In the former

scenario, even a targeted increase designed to retain specific Engineers will put upward

pressure on the entire organization’s
                       organization's compensation structure.

       63.     The positive compensation effects of hiring Engineers from competitors

are not limited to the particular individuals who seek new employment or to the

particular individuals who would have pursued new positions but for a No-Poach

Agreement. Instead, the effects of a restraint in the labor market as a result of a No-Poach

Agreement (and the effects of suppressing recruiting and hiring pursuant to a No-Poach

Agreement) commonly impact all individuals in positions subject to the restraint.

       64.
       64.     Conversely, suppression of competition for cross-hiring and recruitment

serves as a drag on compensation that permeates throughout an organization. Here, the

No-Poach Agreement enabled Defendants to target the impact of their coordination on

the employees most likely to command disruptive increases that, through processes of

internal equity and salary discovery, would have led to increases that would have

benefited all their employees.




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       65.
       65.     Thus, while
               Thus, while Defendants
                           Defendants obtain
                                      obtain significant
                                             significant advantages by engaging
                                                         advantages by engaging in
                                                                                in

lateral
lateral hiring
        hiring among them, the
               among them,     competition also
                           the competition also inflicts
                                                inflicts aa cost
                                                            cost on
                                                                 on the other Defendant
                                                                    the other Defendant by
                                                                                        by

taking away aa valuable
taking away    valuable employee
                        employee and
                                 and raising
                                     raising pay for Engineers
                                             pay for           across the
                                                     Engineers across the companies.
                                                                          companies.

Consequently, by agreeing
Consequently, by agreeing not
                          not to compete, Defendants
                              to compete,            were able
                                          Defendants were able to
                                                               to minimize
                                                                  minimize these
                                                                           these costs
                                                                                 costs

to the detriment
to the           of Plaintiff
       detriment of           and members
                    Plaintiff and members of
                                          of the
                                             the proposed
                                                 proposed Class.
                                                          Class.

       E.
       E.      The No-Poach
               The No-Poach Agreement.
                            Agreement.

       66.
       66.     Beginning at
               Beginning at least
                            least as
                                  as early
                                     early as
                                           as 2011
                                              2011 and
                                                   and continuing
                                                       continuing until
                                                                  until as
                                                                        as late
                                                                           late as
                                                                                as

September 2019,
September       Defendants, through
          2019, Defendants, through their officers, directors,
                                    their officers, directors, agents,
                                                               agents, employees, or
                                                                       employees, or

representatives,
representatives, agreed
                 agreed not
                        not to
                            to compete
                               compete for each other's
                                       for each other’s Engineers
                                                        Engineers in
                                                                  in the
                                                                     the aerospace
                                                                         aerospace

industry working on
industry working on projects for P&W,
                    projects for      specifically by
                                 P&W, specifically by agreeing
                                                      agreeing to
                                                               to restrict
                                                                  restrict the
                                                                           the hiring and
                                                                               hiring and

recruiting of Engineers
recruiting of           between and
              Engineers between     among Suppliers
                                and among Suppliers in
                                                    in the
                                                       the United States.
                                                           United States.

       67.
       67.     P&W served as
               P&W served as aa leader
                                leader and
                                       and primary enforcer of
                                           primary enforcer of the No-Poach Agreement
                                                               the No-Poach Agreement

and did so
and did so through defendant Mahesh
           through defendant Mahesh Patel
                                    Patel –- aa manager
                                                manager and
                                                        and later
                                                            later the
                                                                  the director of the
                                                                      director of the

unit within P&W
unit within P&W in charge of
                in charge of managing
                             managing relationships with Suppliers.
                                      relationships with Suppliers.

       68.
       68.     The No-Poach
               The No-Poach Agreement
                            Agreement manifested
                                      manifested itself
                                                 itself in
                                                        in interwoven
                                                           interwoven and overlapping
                                                                      and overlapping

hiring
hiring and
       and recruiting
           recruiting restrictions,
                      restrictions, all of which
                                    all of which had
                                                 had the common purpose
                                                     the common         of limiting
                                                                purpose of limiting

competition for,
competition for, and thereby restricting
                 and thereby             the free
                             restricting the free movement of, Engineers
                                                  movement of,           within the
                                                               Engineers within the

aerospace engineering industry.
aerospace engineering           The No-Poach
                      industry. The No-Poach Agreement
                                             Agreement thus
                                                       thus artificially
                                                            artificially extended
                                                                         extended

Engineers’ length of
Engineers' length of work
                     work at
                          at aa given
                                given employer
                                      employer and
                                               and reduced or eliminated
                                                   reduced or eliminated their
                                                                         their ability
                                                                               ability to
                                                                                       to


                                            26
                                            26
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advocate
advocate and obtain better
         and obtain better terms of employment,
                           terms of employment, including
                                                including compensation, at current
                                                          compensation, at         and
                                                                           current and

future employers.
future employers.

        69.
        69.     The hiring
                The hiring and
                           and recruiting
                               recruiting restrictions that make
                                          restrictions that make up
                                                                 up the No-Poach
                                                                    the No-Poach

Agreement were
Agreement were shaped
               shaped by
                      by Defendants’ shared financial
                         Defendants' shared financial motivations, specifically aa desire
                                                      motivations, specifically    desire

to suppress wages
to suppress wages and
                  and thereby
                      thereby lessen
                              lessen labor costs.
                                     labor costs.

        70.
        70.     Certain of
                Certain of the
                           the recruiting
                               recruiting and
                                          and hiring
                                              hiring restrictions
                                                     restrictions that
                                                                  that make
                                                                       make up
                                                                            up the No-
                                                                               the No-

Poach Agreement are
Poach Agreement are outlined
                    outlined below.
                             below.

                1.
                1.      Restricting hiring
                        Restricting        and recruiting
                                    hiring and            between Suppliers.
                                               recruiting between Suppliers.

        71.
        71.     As part
                As      of and
                   part of     to effectuate
                           and to effectuate the No-Poach Agreement,
                                             the No-Poach Agreement, the
                                                                     the Supplier
                                                                         Supplier

Defendants
Defendants –- through
              through their officers, directors,
                      their officers, directors, agents,
                                                 agents, employees, or representatives
                                                         employees, or representatives –-

agreed
agreed not to recruit
       not to recruit and
                      and hire one another’s
                          hire one another's Engineers,
                                             Engineers, and
                                                        and P&W
                                                            P&W –- through defendant
                                                                   through defendant

Patel
Patel –- acted
         acted as
               as aa leader
                     leader and chief enforcer
                            and chief enforcer of
                                               of this
                                                  this restriction on recruiting
                                                       restriction on recruiting and
                                                                                 and hiring.
                                                                                     hiring.

P&W’s
P&W's enforcement of this
      enforcement of this agreement was effective,
                          agreement was effective, in
                                                   in part,
                                                      part, due
                                                            due to
                                                                to P&W’s
                                                                   P&W's position
                                                                         position as
                                                                                  as

the Suppliers’ common
the Suppliers' common customer.
                      customer.

        72.
        72.      Beginning
                 Beginning as
                           as early
                              early as
                                    as 2011,
                                       2011, certain Suppliers who
                                             certain Suppliers who provided
                                                                   provided Engineers
                                                                            Engineers to
                                                                                      to

P&W
P&W entered
    entered into
            into agreements
                 agreements that
                            that they would restrict
                                 they would restrict the
                                                     the hiring
                                                         hiring and
                                                                and recruiting of
                                                                    recruiting of

Engineers
Engineers between
          between and among them.
                  and among them.

        73.
        73.     P&W’s
                P&W's involvement
                      involvement in
                                  in this anticompetitive scheme
                                     this anticompetitive scheme began
                                                                 began at
                                                                       at around or
                                                                          around or

about the same
about the same time
               time period, with Patel
                    period, with       taking an
                                 Patel taking an active
                                                 active role
                                                        role in
                                                             in the
                                                                the conspiracy.
                                                                    conspiracy.


                                              27
                                              27
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                   a. Defendants
                   a. Defendants instructed
                                  instructed one
                                             one another
                                                  another to adhere to
                                                          to adhere  to the
                                                                         the restrictions
                                                                             restrictions
                      onrecruiting and
                      onrecruiting and hiring  and expressly
                                        hiring and expressly tied
                                                             tied this
                                                                  this to
                                                                       to the
                                                                          the goal  of
                                                                              goal of
                      compensation suppression.
                      compensation   suppression.

       74.
       74.     Patel
               Patel instructed
                     instructed managers
                                managers and
                                         and executives
                                             executives at Suppliers that
                                                        at Suppliers that P&W’s
                                                                          P&W's

Suppliers should
Suppliers should not be recruiting
                 not be            and hiring
                        recruiting and        one another’s
                                       hiring one another's Engineers.
                                                            Engineers.

       75.
       75.     The Suppliers
               The Suppliers understood that these
                             understood that these restrictions applied mutually
                                                   restrictions applied mutually among
                                                                                 among

the Suppliers themselves.
the Suppliers themselves.

       76.
       76.     Patel
               Patel made
                     made these
                          these communications with each
                                communications with      of the
                                                    each of     Suppliers directly,
                                                            the Suppliers directly,

communicating the
communicating the restriction and that
                  restriction and that other
                                       other Suppliers
                                             Suppliers were
                                                       were observing
                                                            observing it
                                                                      it as well.
                                                                         as well.

       77.
       77.     For example,
               For example, in
                            in 2016,
                               2016, Patel emailed the
                                     Patel emailed the Chief
                                                       Chief Operating
                                                             Operating Officer,
                                                                       Officer,

Executive Vice President
Executive Vice President and
                         and part owner of
                             part owner of PSI.
                                           PSI. He stated: “Last
                                                He stated: "Last time we talked
                                                                 time we        you
                                                                         talked you

assured
assured me
        me that you will
           that you will not
                         not hire
                             hire any [P&W] partners
                                  any [P&W]          employee [sic].
                                            partners employee [sic]. This
                                                                     This must stop,
                                                                          must stop,

otherwise others
otherwise others will
                 will also start poaching
                      also start          your employees.”
                                 poaching your             DCIS Affidavit,
                                               employees." DCIS Affidavit, 1¶1[ 29.
                                                                                29.

       78.
       78.     Patel
               Patel also discussed these
                     also discussed these restrictions on Suppliers'
                                          restrictions on Suppliers’ recruiting
                                                                     recruiting and
                                                                                and hiring
                                                                                    hiring

when multiple
when multiple Suppliers
              Suppliers were
                        were present.
                             present.

       79.
       79.     For example,
               For example, in December 2015,
                            in December 2015, P&W
                                              P&W hosted
                                                  hosted aa dinner
                                                            dinner that was attended
                                                                   that was attended

by Patel
by       and representatives
   Patel and                 from Suppliers
             representatives from Suppliers for
                                            for P&W,
                                                P&W, including
                                                     including QuEST,
                                                               QuEST, Belcan,
                                                                      Belcan, and
                                                                              and

Cyient. December 15
Cyient. December 15 Indictment,
                    Indictment, 1¶1[ 22(a). These representatives
                                     22(a). These representatives included
                                                                  included individuals
                                                                           individuals at
                                                                                       at

senior and
senior and powerful
           powerful levels of these
                    levels of       companies, such
                              these companies, such as
                                                    as the
                                                       the President of the
                                                           President of     North
                                                                        the North

America Operations
America Operations for
                   for Cyient,
                       Cyient, the Vice President/Strategic
                               the Vice                     Client Partner
                                        President/Strategic Client Partner for
                                                                           for QuEST,
                                                                               QuEST,


                                             28
                                             28
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and
and aa General Manager for
       General Manager for QuEST.
                           QuEST. Patel
                                  Patel addressed
                                        addressed the Supplier representatives
                                                  the Supplier                 at the
                                                               representatives at the

dinner, during
dinner, during which
               which he
                     he instructed
                        instructed the attendees that
                                   the attendees that there should be
                                                      there should be no
                                                                      no poaching of one
                                                                         poaching of one

another’s
another's Engineers.
          Engineers.

       80.
       80.     These instructions
               These              were subsequently
                     instructions were subsequently shared
                                                    shared with
                                                           with others
                                                                others at
                                                                       at the Supplier
                                                                          the Supplier

companies. For
companies. For example,
               example, following
                        following the meeting, an
                                  the meeting,    executive of
                                               an executive of Belcan,
                                                               Belcan, who
                                                                       who was
                                                                           was in
                                                                               in

attendance
attendance at
           at the dinner, sent
              the dinner, sent an
                               an email
                                  email to defendant Houghtaling
                                        to defendant             and other
                                                     Houghtaling and other Belcan
                                                                           Belcan

employees, summarizing
employees, summarizing Patel’s
                       Patel's remarks:
                               remarks: “Mahesh did take
                                        "Mahesh did take the
                                                         the stage
                                                             stage at
                                                                   at the
                                                                      the end
                                                                          end ...
                                                                              . . . no
                                                                                    no

poaching of each
poaching of each others'
                 others’ [sic]
                         [sic] employees."
                               employees.” December
                                           December 15
                                                    15 Indictment,
                                                       Indictment, 1¶1[ 22(a).
                                                                        22(a).

       81.
       81.     Suppliers also
               Suppliers also communicated
                              communicated directly
                                           directly with
                                                    with one
                                                         one another
                                                             another to confirm their
                                                                     to confirm their

agreement with and
agreement with and mutual
                   mutual adherence
                          adherence to
                                    to the
                                       the restrictions on recruiting
                                           restrictions on            and hiring.
                                                           recruiting and hiring.

       82.
       82.     For example,
               For example, in
                            in aa September
                                  September 2019,
                                            2019, after Agilis had
                                                  after Agilis had hired four Cyient
                                                                   hired four Cyient

employees, the
employees, the President for Cyient’s
               President for          North America
                             Cyient's North America Operations
                                                    Operations reached out to
                                                               reached out to the
                                                                              the

Founder,
Founder, President, and Chief
         President, and Chief Executive
                              Executive Officer of Agilis,
                                        Officer of Agilis, and
                                                           and asked
                                                               asked him
                                                                     him to stop "actively
                                                                         to stop “actively

recruiting”
recruiting" Cyient’s employees. DCIS
            Cyient's employees. DCIS Affidavit,
                                     Affidavit, 1¶1[ 34.
                                                     34. Agilis'
                                                         Agilis’ CEO
                                                                 CEO agreed,
                                                                     agreed, telling
                                                                             telling Cyient’s
                                                                                     Cyient's

President of North
President of North America
                   America Operations that Agilis'
                           Operationsthat  Agilis’ "general
                                                   “general aim
                                                            aim is NOT to
                                                                is NOT to recruit from
                                                                          recruit from

the
the local
    local ‘competition’ because no
          `competition' because    one wins;
                                no one wins; salaries
                                             salaries rise,
                                                      rise, the workforce get
                                                            the workforce get unstable,
                                                                              unstable, and
                                                                                        and

our margins
our margins all get hurt.”
            all get hurt." Id. In
                               In response,
                                  response, Cyient’s
                                            Cyient's head of North
                                                     head of North America
                                                                   America Operations
                                                                           Operations




                                             29
                                             29
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thanked Agilis’ CEO
thanked Agilis' CEO and
                    and noted “I flat
                        noted "I      out ask
                                 flat out ask our
                                              our teams
                                                  teams not to hire
                                                        not to hire people from the
                                                                    people from the

other [P&W]
other [P&W] suppliers."
            suppliers.” Id.
                        Id.

        83.
        83.     The Defendants
                The Defendants also
                               also effectuated
                                    effectuated their agreement by
                                                their agreement by rescinding offers of
                                                                   rescinding offers of

employment that
employment      violated the
           that violated     conspiracy. DOJ
                         the conspiracy. DOJ Indictment,
                                             Indictment, 1¶1[ 26.
                                                              26. For example, in
                                                                  For example,    June
                                                                               in June

2018,
2018, there were emails
      there were        and conversations
                 emails and               between defendant
                            conversations between defendant Patel and individuals
                                                            Patel and individuals from
                                                                                  from

Belcan,
Belcan, including defendant Houghtaling,
        including defendant Houghtaling, discussing
                                         discussing Belcan's
                                                    Belcan’s employment
                                                             employment offer
                                                                        offer to an
                                                                              to an

engineer at
engineer at QuEST.
            QuEST. Id. The discussion
                   Id. The discussion concluded
                                      concluded with
                                                with aa Belcan
                                                        Belcan executive telling Patel
                                                               executive telling Patel

“[p]er our
"[pier our conversation
           conversation yesterday,
                        yesterday, this
                                   this email
                                        email is
                                              is to confirm that
                                                 to confirm      we have
                                                            that we have rescinded
                                                                         rescinded the offer
                                                                                   the offer

letter for” the
letter for" the engineer
                engineer being
                         being discussed.
                               discussed. Id.

                    b. Defendants
                    b. Defendants had
                                  had aa common
                                         common interest
                                                interest in
                                                         in suppressing
                                                            suppressing labor costs.
                                                                        labor costs.

        84.
        84.     Throughout the
                Throughout     operations of
                           the operations of the Suppliers’ restrictions
                                             the Suppliers'              on recruiting
                                                            restrictions on recruiting and
                                                                                       and

hiring,
hiring, representatives
        representatives from Defendants justified
                        from Defendants justified these
                                                  these actions by appealing
                                                        actions by           to their
                                                                   appealing to their

effects in
effects    suppressing wages
        in suppressing wages for
                             for Engineers
                                 Engineers and
                                           and the benefits this
                                               the benefits      would accrue
                                                            this would accrue to
                                                                              to

Defendants. The Defendants
Defendants. The Defendants and
                           and their co-conspirators often
                               their co-conspirators often encouraged
                                                           encouraged each other to
                                                                      each other to

comply with
comply with the
            the agreement by pointing
                agreement by pointing to
                                      to the
                                         the mutual financial benefits
                                             mutual financial benefits of
                                                                       of the
                                                                          the agreement,
                                                                              agreement,

which included
which included preventing wages and
               preventing wages and labor
                                    labor costs
                                          costs from
                                                from rising.
                                                     rising.




                                                30
                                                30
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        85.
        85.     This reasoning
                This           was articulated
                     reasoning was articulated in communications between
                                               in communications between Patel
                                                                         Patel and
                                                                               and

representatives of the
representatives of the Suppliers,
                       Suppliers, as well as
                                  as well as between
                                             between representatives of the
                                                     representatives of     Suppliers
                                                                        the Suppliers

directly.
directly.

        86.
        86.     For
                For example,
                    example, in January 2017,
                             in January 2017, after chastising Prus
                                              after chastising Prus for
                                                                    for PSI’s
                                                                        PSI's hiring
                                                                              hiring

making
making an employment offer
       an employment offer to
                           to an employee of
                              an employee of Cyient,
                                             Cyient, Patel contacted another
                                                     Patel contacted another

representative of PSI
representative of     and instructed:
                  PSI and             “Please do
                          instructed: "Please do not
                                                 not hire
                                                     hire any
                                                          any partners
                                                              partners employee, whether
                                                                       employee, whether

they approached or
they approached or you
                   you approached.
                       approached. That
                                   That is the only
                                        is the only way
                                                    way we
                                                        we can
                                                           can pre[v]ent
                                                               pre[v]ent poaching and
                                                                         poaching and

price war.” December 15 Indictment,
price war."             Indictment, 1¶1[ 27(b);
                                         27(b); DCIS Affidavit, 1¶1[ 24.
                                                DCIS Affidavit,      24.

        87.
        87.     That January
                That January 2017 email was
                             2017 email was subsequently
                                            subsequently shared
                                                         shared with
                                                                with Chief
                                                                     Chief Operating
                                                                           Operating

Officer,
Officer, Executive Vice President
         Executive Vice President and
                                  and part owner of
                                      part owner of PSI. And in
                                                    PSI. And    March of
                                                             in March of 2017,
                                                                         2017, that
                                                                               that

individual discussed P&W’s
individual discussed P&W's hiring
                           hiring restrictions with an
                                  restrictions with    executive of
                                                    an executive of another
                                                                    another Supplier,
                                                                            Supplier,

noting
noting that “MAHESH says
       that "MAHESH says he does not
                         he does     want the
                                 not want     salaries to
                                          the salaries to increase.”
                                                          increase." DCIS Affidavit, 1¶1[
                                                                     DCIS Affidavit,

24.
24.

        88.
        88.     Likewise,
                Likewise, in April of
                          in April of 2017,
                                      2017, aa General Manager from
                                               General Manager from QuEST sent an
                                                                    QuEST sent    email
                                                                               an email

warning that
warning that Cyient
             Cyient had
                    had hired an Engineer
                        hired an          who was
                                 Engineer who was employed with QuEST,
                                                  employed with QuEST, noting that
                                                                       noting that

“[t]his is
"[t]his is against our agreements
           against our agreements with
                                  with our
                                       our employees
                                           employees and
                                                     and against our known
                                                         against our       expectations
                                                                     known expectations

of [P&W]
of [P&W] for
         for the cooperation of
             the cooperation of the outsource companies"
                                the outsource companies” and
                                                         and complaining
                                                             complaining that
                                                                         that if such
                                                                              if such

hiring does not
hiring does     stop, it
            not stop,    will "drive
                      it will “drive the
                                     the price structure up.”
                                         price structure      December 15
                                                         up." December    Indictment, 1¶1[
                                                                       15 Indictment,




                                              31
                                              31
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27(c);
27(c); DCIS Affidavit, 1¶1[ 25.
       DCIS Affidavit,          Defendant Patel
                            25. Defendant       subsequently reached
                                          Patel subsequently         out to
                                                             reached out    the executives
                                                                         to the executives

of the
of the two Suppliers involved
       two Suppliers involved –- the
                                 the General Manager from
                                     General Manager from QuEST
                                                          QuEST and
                                                                and the
                                                                    the President of
                                                                        President of

North America
North America Operations from Cyient
              Operations from Cyient –- and
                                        and marked
                                            marked them
                                                   them as “required” attendees
                                                        as "required"           on
                                                                      attendees on

an
an invitation
   invitation for
              for aa "private
                     “private discussion"
                              discussion” in
                                          in his office the
                                             his office the next
                                                            next day. DCIS Affidavit,
                                                                 day. DCIS Affidavit, 125;
                                                                                      ¶ 25;

December
December 15
         15 Indictment,
            Indictment, 1¶1[ 29(g).
                             29(g).

        89.
        89.     As another
                As another example,
                           example, In September 2019,
                                    In September 2019, after learning that
                                                       after learning that Agilis
                                                                           Agilis hired
                                                                                  hired

employees from
employees from Cyient,
               Cyient, defendant
                       defendant Edwards emailed the
                                 Edwards emailed the CEO of Agilis
                                                     CEO of Agilis to
                                                                   to request
                                                                      request

adherence
adherence to the hiring
          to the hiring and
                        and recruiting
                            recruiting restrictions.
                                       restrictions. December
                                                     December 15
                                                              15 Indictment,
                                                                 Indictment, 1¶1[ 27(a). In
                                                                                  27(a). In

the
the email,
    email, Edwards stated, "I
           Edwards stated, “I wanted
                              wanted to ask if
                                     to ask    your team
                                            if your team could
                                                         could refrain
                                                               refrain from
                                                                       from actively
                                                                            actively

recruiting our [Cyient]
recruiting our [Cyient] employees
                        employees going
                                  going forward.”     Edwards further
                                        forward." Id. Edwards         assured the
                                                              further assured     Agilis
                                                                              the Agilis

CEO, “I flat
CEO, "I      out ask
        flat out     our teams
                 ask our teams not to hire
                               not to hire people from the
                                           people from the other
                                                           other [P&W]
                                                                 [P&W] suppliers."
                                                                       suppliers.” Id.

The Agilis
The Agilis CEO
           CEO assured
               assured Edwards, “[o]ur general
                       Edwards, "[o]ur general aim
                                               aim is NOT to
                                                   is NOT to recruit
                                                             recruit from
                                                                     from the
                                                                          the local
                                                                              local

‘competition’ because no
`competition' because    one wins;
                      no one wins; salaries
                                   salaries rise,
                                            rise, the workforce get
                                                  the workforce     [sic] unstable,
                                                                get [sic] unstable, and our
                                                                                    and our

margins all get
margins all get hurt.”
                hurt." Id.

                    c. The
                    c. The Defendants
                           Defendants policed and enforced
                                      policed and enforced the No-Poach Agreement.
                                                           the No-Poach Agreement.

        90.
        90.     The Defendants
                The Defendants and
                               and their co-conspirators monitored
                                   their co-conspirators monitored and
                                                                   and enforced
                                                                       enforced

compliance with
compliance with their
                their illegal
                      illegal agreement
                              agreement by among other
                                        by among other means:
                                                       means: 1)
                                                              1) investigating whether
                                                                 investigating whether

employees were
employees were seeking
               seeking employment with or
                       employment with or had been offered
                                          had been offered employment
                                                           employment by
                                                                      by another co-
                                                                         another co-




                                             32
                                             32
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conspirator; 2)
conspirator; 2) alerting co-conspirators, through
                alerting co-conspirators,         direct communications
                                          through direct communications in which Patel
                                                                        in which Patel

served as
served as an
          an intermediary,
             intermediary, to
                           to instances
                              instances in which those
                                        in which       co-conspirators hired
                                                 those co-conspirators hired and
                                                                             and recruited
                                                                                 recruited

in
in aa manner that violated
      manner that violated the
                           the agreement; 3) with
                               agreement; 3) with respect
                                                  respect to
                                                          to Patel,
                                                             Patel, threatening
                                                                    threatening to
                                                                                to reduce,
                                                                                   reduce,

withhold, and
withhold,     disrupt business
          and disrupt business transactions between P&W
                               transactions between P&W and
                                                        and its co-conspirator
                                                            its co-conspirator

companies if
companies if they did not
             they did     conform to
                      not conform to the agreement, including
                                     the agreement,           by withholding
                                                    including by withholding or
                                                                             or

withdrawing P&W
withdrawing     statements of
            P&W statements of work
                              work and
                                   and purchase orders; and
                                       purchase orders; and 4) demanding through
                                                            4) demanding through

direct communications
direct communications and
                      and communications
                          communications in which Patel
                                         in which       served as
                                                  Patel served as an
                                                                  an intermediary,
                                                                     intermediary,

that co-conspirator cease
that co-conspirator cease hiring
                          hiring and
                                 and recruiting
                                     recruiting in
                                                in aa manner that violated
                                                      manner that violated the agreement.
                                                                           the agreement.

December
December 15
         15 Indictment,
            Indictment, 1¶1[ 28.
                             28.

        91.
        91.    P&W, through defendant
               P&W, through defendant Patel,
                                      Patel, repeatedly acted as
                                             repeatedly acted    an intermediary
                                                              as an intermediary

between the
between     Supplier Defendants
        the Supplier Defendants to
                                to police
                                   police and enforce the
                                          and enforce the agreement
                                                          agreement restricting
                                                                    restricting their
                                                                                their

recruiting
recruiting and
           and hiring,
               hiring, including by directly
                       including by directly reprimanding Suppliers who
                                             reprimanding Suppliers who attempted
                                                                        attempted to
                                                                                  to

solicit or
solicit or hire other Suppliers'
           hire other Suppliers’ employees
                                 employees in violation of
                                           in violation of the
                                                           the agreement.
                                                               agreement.

        92.
        92.    Patel often acted
               Patel often acted in
                                 in response
                                    response to
                                             to requests
                                                requests from Suppliers, who
                                                         from Suppliers, who would
                                                                             would alert
                                                                                   alert

Patel
Patel to
      to infractions of the
         infractions of the agreement
                            agreement and
                                      and ask
                                          ask that
                                              that he assist in
                                                   he assist in preventing or deterring
                                                                preventing or deterring such
                                                                                        such

violations.
violations.

        93.
        93.    For example,
               For example, in February 2015,
                            in February 2015, after
                                              after Cyient
                                                    Cyient hired
                                                           hired an employee of
                                                                 an employee of QuEST,
                                                                                QuEST,

defendant Edwards
defendant         emailed another
          Edwards emailed         Cyient executive,
                          another Cyient executive, stating,
                                                    stating, "I
                                                             “I let Mahesh know
                                                                let Mahesh      this
                                                                           know this




                                            33
                                            33
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happened-[a]nd we are
happened-[a]nd we are still
                      still looking
                            looking into
                                    into how exactly this
                                         how exactly this happened.” December 15
                                                          happened." December 15

Indictment,
Indictment, 1¶1[ 25(b). And, Edwards
                 25(b). And, Edwards continued,
                                     continued, "can
                                                “can you
                                                     you let
                                                         let Mahesh
                                                             Mahesh know
                                                                    know the
                                                                         the actions
                                                                             actions

we’re taking
we're taking to
             to prevent
                prevent this
                        this from
                             from happening again?” Id.
                                  happening again?" Id.

         94.
         94.      As another
                  As another example,
                             example, in May 2016,
                                      in May       defendant Houghtaling
                                             2016, defendant             was informed
                                                             Houghtaling was informed

by aa colleague
by    colleague that
                that “[a]nother employee” had
                     "[a]nother employee"     been hired
                                          had been       by PSI
                                                   hired by PSI to work on
                                                                to work on an
                                                                           an

outsourcing project
outsourcing         for aa company
            project for    company other
                                   other than
                                         than P&W. December 15
                                              P&W. December 15 Indictment,
                                                               Indictment, 1¶1[ 22(c);
                                                                                22(c);

DCIS Affidavit,
DCIS Affidavit, 1¶1[ 27. The colleague
                     27. The colleague asked Houghtaling if
                                       asked Houghtaling if he
                                                            he “ever
                                                               "ever discuss[ed]
                                                                     discuss[ed] the
                                                                                 the last one
                                                                                     last one

with Mahesh."
with Mahesh.” December
              December 15
                       15 Indictment,
                          Indictment, 1¶1[ 22(c);
                                           22(c); DCIS Affidavit, 1¶1[ 27.
                                                  DCIS Affidavit,      27. Houghtaling
                                                                           Houghtaling

assured
assured the colleague that
        the colleague that he
                           he had spoken to
                              had spoken to Patel
                                            Patel and
                                                  and that
                                                      that Patel “said he’d
                                                           Patel "said he'd talk
                                                                            talk to
                                                                                 to PSI
                                                                                    PSI

about
about it.” December 15
      it." December    Indictment, 1¶1[ 22(c);
                    15 Indictment,             DCIS Affidavit,
                                        22(c); DCIS Affidavit, 1¶1[ 27.
                                                                    27. Houghtaling
                                                                        Houghtaling

subsequently emailed
subsequently         defendant Patel
             emailed defendant       to complain
                               Patel to complain that
                                                 that his company was
                                                      his company was "losing
                                                                      “losing another
                                                                              another

employee to
employee to PSI,”
            PSI," and
                  and named
                      named the employee. December
                            the employee. December 15
                                                   15 Indictment,
                                                      Indictment, 1¶1[ 22(c);
                                                                       22(c); DCIS
                                                                              DCIS

Affidavit, 1¶1[ 27.
Affidavit,      27.

         95.
         95.          In September
                      In September 2016,
                                   2016, aa Belcan
                                            Belcan executive
                                                   executive alerted
                                                             alerted Patel to aa recent
                                                                     Patel to    recent poaching
                                                                                        poaching

by PSI.
by PSI. December
        December 15 Indictment, 1¶1[ 28(e).
                 15 Indictment,             An email
                                     28(e). An email from
                                                     from Patel
                                                          Patel to defendant Prus
                                                                to defendant Prus

followed
followed in which Patel
         in which       stated, "[y]ou
                  Patel stated, “[y]ou had
                                       had assured
                                           assured me
                                                   me that
                                                      that PSI will never
                                                           PSI will       soliciting [sic]
                                                                    never soliciting [sic]

P&W’s
P&W's long
      long term
           term partners [sic] employees
                partners [sic] employees ...
                                         … Please   send me
                                             Please send me in writing that
                                                            in writing that proper steps
                                                                            proper steps

has [sic] taken
has [sic] taken place
                place to curtail this
                      to curtail this practice.” December 15
                                      practice." December 15 Indictment,
                                                             Indictment, 1¶1[ 28(e). In
                                                                              28(e). In




                                                  34
                                                  34
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response to Patel’s
response to Patel's reprimand,
                    reprimand, Prus
                               Prus instructed
                                    instructed aa PSI employee by
                                                  PSI employee by email
                                                                  email to
                                                                        to “[p]lease stop
                                                                           "[p]lease stop

speaking to
speaking to any Belcan or
            any Belcan or other
                          other P&W supplier companies
                                P&W supplier           about transitioning
                                             companies about transitioning to
                                                                           to aa PSI
                                                                                 PSI

Office
Office immediately.” December 15
       immediately." December 15 Indictment,
                                 Indictment, 1¶1[ 28(e).
                                                  28(e).

        96.
        96.      A few
                 A     months later,
                   few months later, aa similar
                                        similar communication
                                                communication occurred
                                                              occurred in the opposite
                                                                       in the opposite

direction. In
direction.    November 2016,
           In November       defendant Prus
                       2016, defendant      emailed Patel
                                       Prus emailed       complaining about
                                                    Patel complaining about Belcan
                                                                            Belcan

“actively Recruiting
"actively Recruiting PSI
                     PSI employees.”
                         employees." December
                                     December 15
                                              15 Indictment,
                                                 Indictment, 1¶1[ 22(c);
                                                                  22(c); DCIS Affidavit, 1¶1[
                                                                         DCIS Affidavit,

27.
27. Patel
    Patel forwarded
          forwarded Prus’s email to
                    Prus's email to defendant
                                    defendant Houghtaling
                                              Houghtaling and
                                                          and another
                                                              another Belcan
                                                                      Belcan manager,
                                                                             manager,

saying, “[w]e
saying,       must not
        "[w]e must not poach each other
                       poach each other partners employee. Please
                                        partners employee.        communicate to
                                                           Please communicate to

Belcan HR not
Belcan HR not to
              to interview or hire
                 interview or      active employees
                              hire active           working on
                                          employees working on P&W work.” December
                                                               P&W work." December

15
15 Indictment,
   Indictment, 1¶1[ 22(c); DCIS Affidavit,
                    22(c); DCIS Affidavit, 1¶1[ 27.
                                                27. In another November
                                                    In another November 2016
                                                                        2016 email,
                                                                             email, Prus
                                                                                    Prus

wrote to
wrote    another executive
      to another executive at
                           at PSI, “[n]eed to
                              PSI, "[n]eed to have
                                              have aa conversation
                                                      conversation with
                                                                   with [a
                                                                        [a Belcan
                                                                           Belcan manager]
                                                                                  manager]

about them actively
about them actively recruiting
                    recruiting PSI employees. We
                               PSI employees. We do
                                                 do not
                                                    not EVER
                                                        EVER call
                                                             call their employees.”
                                                                  their employees."

December
December 15
         15 Indictment,
            Indictment, 1¶1[ 28(g).
                             28(g). Later that day,
                                    Later that day, the
                                                    the PSI executive responded
                                                        PSI executive responded to
                                                                                to Prus, “I
                                                                                   Prus, "I

talked
talked to
       to him.
          him. He will talk
               He will talk to
                            to recruiting
                               recruiting .. ..
                                             . . ."
                                                 .” Id.
                                                    Id.

        97.
        97.      As another
                 As another example,
                            example, in
                                     in aa February
                                           February 2017 email, defendant
                                                    2017 email, defendant Wasan
                                                                          Wasan

responded to the
responded to the news
                 news that Belcan had
                      that Belcan had made an employment
                                      made an            offer to
                                              employment offer to aa QuEST engineer
                                                                     QuEST engineer

by stating:
by stating: "Belcan
            “Belcan is
                    is not
                       not allowed
                           allowed to
                                   to poach
                                      poach any of our
                                            any of our employees and II will
                                                       employees and    will plan
                                                                             plan to block
                                                                                  to block

this
this immediately.
     immediately. II will
                     will send
                          send this
                               this to Mahesh today.”
                                    to Mahesh         December 15
                                              today." December 15 Indictment,
                                                                  Indictment, 1¶1[ 22(b).
                                                                                   22(b).




                                                 35
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Approximately four
Approximately four minutes
                   minutes later, defendant Wasan
                           later, defendant Wasan forwarded
                                                  forwarded the
                                                            the information about
                                                                information about

Belcan’s offer directly
Belcan's offer directly to defendant Patel,
                        to defendant        adding, "I
                                     Patel, adding, “I am very concerned
                                                       am very concerned that
                                                                         that [Belcan]
                                                                              [Belcan]

believes they
believes they can
              can hire
                  hire any of our
                       any of our employees.....
                                  employees. …. Could  you please
                                                 Could you        stop this
                                                           please stop this person
                                                                            person from
                                                                                   from

being hired
being hired by
            by Belcan?”
               Belcan?" December
                        December 15 Indictment, 1¶1[ 22(b);
                                 15 Indictment,      22(b); DCIS Affidavit, 1¶1[ 28.
                                                            DCIS Affidavit,      28.

Managing communications
Managing communications with
                        with Patel
                             Patel upon learning of
                                   upon learning of other
                                                    other Suppliers'
                                                          Suppliers’ violations
                                                                     violations of
                                                                                of the
                                                                                   the

agreement were aa specific
agreement were    specific responsibility of Wasan.
                           responsibility of Wasan. DCIS Affidavit, 1¶1[ 28.
                                                    DCIS Affidavit,      28.

         98.
         98.    Further, in
                Further,    January 2017,
                         in January 2017, aa representative
                                             representative from
                                                            from Cyient emailed Patel
                                                                 Cyient emailed Patel to
                                                                                      to

inform
inform him
       him that
           that PSI
                PSI had
                    had hired
                        hired aa Cyient
                                 Cyient Engineer
                                        Engineer and
                                                 and Patel
                                                     Patel forwarded
                                                           forwarded this
                                                                     this email
                                                                          email to
                                                                                to

defendant Prus.
defendant Prus. Patel wrote: December
                Patel wrote: December 15
                                      15 Indictment,
                                         Indictment, 1¶1[ 25(b); DCIS Affidavit,
                                                          25(b); DCIS Affidavit, 1¶1[ 29.
                                                                                      29.

“Last time
"Last      we talked
      time we talked you
                     you assured
                         assured me that you
                                 me that you willnot
                                             willnot hire
                                                     hire any [P&W] partners
                                                          any [P&W] partners employee.
                                                                             employee.

This must
This must stop,
          stop, otherwise
                otherwise others
                          others will
                                 will also
                                      also start
                                           start poaching your employees.
                                                 poaching your employees. Please
                                                                          Please advise.”
                                                                                 advise."

December
December 15
         15 Indictment,
            Indictment, 1¶1[ 25(b);
                             25(b); DCIS Affidavit, 1¶1[ 29.
                                    DCIS Affidavit,          Defendant Prus
                                                         29. Defendant      subsequently
                                                                       Prus subsequently

forwarded
forwarded the email to
          the email to aa PSI
                          PSI recruiting
                              recruiting employee
                                         employee and said, "[p]lease
                                                  and said, “[p]lease make
                                                                      make sure
                                                                           sure we
                                                                                we stay
                                                                                   stay

away from Belcan,
away from Belcan, Cyient, Agilis personnel
                  Cyient, Agilis personnel moving
                                           moving forward.” December 15
                                                  forward." December    Indictment, 1¶1[
                                                                     15 Indictment,

25(b).
25(b).

         99.
         99.    In December
                In December 2017,
                            2017, aa V.P.
                                     V.P. from
                                          from QuEST emailed defendant
                                               QuEST emailed           Houghtaling
                                                             defendant Houghtaling

complaining about
complaining       Belcan’s reported
            about Belcan's reported employment
                                    employment offers to two
                                               offers to two QuEST employees in
                                                             QuEST employees in

Illinois and stated,
Illinois and stated, "I
                     “I would
                        would like
                              like to
                                   to understand
                                      understand if you are
                                                 if you are planning
                                                            planning to
                                                                     to address
                                                                        address this
                                                                                this




                                             36
                                             36
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immediately, or II will
immediately, or    will be
                        be forced
                           forced to escalate to
                                  to escalate    our mutual
                                              to our mutual customers."
                                                            customers.” December
                                                                        December 15
                                                                                 15

Indictment,
Indictment, 1¶1[ 28(f). Defendant Harvey
                 28(f). Defendant Harvey responded, “[s]pot on.
                                         responded, "[s]pot on. This
                                                                This cannot
                                                                     cannot be
                                                                            be tolerated!
                                                                               tolerated!

We need
We      to move
   need to      quickly and
           move quickly and forcibly when this
                            forcibly when this is
                                               is about
                                                  about to
                                                        to happen.” Id. Later,
                                                           happen." Id. Later, he
                                                                               he added,
                                                                                  added,

speaking to
speaking    QuEST’s management
         to QuEST's management and
                               and executive
                                   executive team: “[p]ush hard
                                             team: "[plush hard to
                                                                to have
                                                                   have it
                                                                        it reversed
                                                                           reversed

and consequences for
and consequences for Belcan.”
                     Belcan." Id.

        100.
        100.    Patel’s enforcement of
                Patel's enforcement of the
                                       the agreement on behalf
                                           agreement on behalf of
                                                               of the Suppliers was
                                                                  the Suppliers was

effective
effective in
          in ensuring
             ensuring that
                      that the Suppliers adhered
                           the Suppliers adhered to
                                                 to the
                                                    the terms of the
                                                        terms of     agreement.
                                                                 the agreement.

        101.
        101.    For example,
                For example, after
                             after aa Belcan
                                      Belcan executive
                                             executive notified
                                                       notified Patel that PSI
                                                                Patel that     was recruiting
                                                                           PSI was recruiting

and
and hiring Engineers in
    hiring Engineers    violation of
                     in violation of the
                                     the agreement,
                                         agreement, Patel sent an
                                                    Patel sent    email to
                                                               an email to the
                                                                           the Executive
                                                                               Executive

Vice President
Vice           and part
     President and      owner of
                   part owner of PSI.
                                 PSI. Referencing
                                      Referencing Belcan,
                                                  Belcan, Patel wrote: "You
                                                          Patel wrote: “You had
                                                                            had assured
                                                                                assured

me
me that [PSI] will
   that [PSI] will never soliciting [P&W's]
                   never soliciting [P&W’s] long term partners
                                            long term          employees ...
                                                      partners employees . . . Please send
                                                                               Please send

me
me in writingthat proper
   in writingthat        steps has
                  proper steps     taken place
                               has taken place to curtail this
                                               to curtail this practice.” Id. 1¶1[ 31.
                                                               practice." Id.      31. In
                                                                                       In aa later
                                                                                             later

email, the
email, the Executive Vice President
           ExecutiveVice  President and
                                    and part
                                        part owner of PSI
                                             owner of PSI indicated
                                                          indicated that
                                                                    that he
                                                                         he understood
                                                                            understood

Belcan was the
Belcan was the source
               source of
                      of this complaint, writing
                         this complaint, writing that
                                                 that Belcan “is making
                                                      Belcan "is making aa big stink right
                                                                           big stink right

now over any
now over     solicitations.” Id.
         any solicitations."     The Executive
                             Id. The           Vice President
                                     Executive Vice           and part
                                                    President and      owner of
                                                                  part owner of PSI
                                                                                PSI

subsequently instructed
subsequently            another employee
             instructed another employee of
                                         of PSI to "[p]lease
                                            PSI to “[p]lease stop
                                                             stop speaking
                                                                  speaking to any
                                                                           to any

[Belcan] or
[Belcan] or other
            other [P&W]
                  [P&W] supplier
                        supplier companies
                                 companies about
                                           about transitioning
                                                 transitioning to [a PSI]
                                                               to [a PSI] Office
                                                                          Office

immediately.”
immediately." Id.
              Id.




                                                37
                                                37
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        102.
        102.    P&W also exercised
                P&W also exercised its
                                   its authority
                                       authority as
                                                 as aa customer of the
                                                       customer of     Suppliers in
                                                                   the Suppliers    order
                                                                                 in order

to ensure they
to ensure they followed
               followed the
                        the prohibition
                            prohibition from
                                        from recruiting and hiring
                                             recruiting and        one another's
                                                            hiring one another’s

Engineers.
Engineers.

        103.
        103.    As an
                As an example,
                      example, in June 2018,
                               in June 2018, Patel
                                             Patel reached out to
                                                   reached out to executives
                                                                  executives from
                                                                             from Belcan
                                                                                  Belcan

concerning aa recent
concerning           effort to
              recent effort to hire
                               hire an
                                    an Engineer
                                       Engineer at
                                                at QuEST.
                                                   QuEST. Patel
                                                          Patel had
                                                                had learned of these
                                                                    learned of these plans
                                                                                     plans

from
from individuals
     individuals at QuEST. A
                 at QuEST. A recruiter
                             recruiter at Belcan explained
                                       at Belcan explained in
                                                           in an
                                                              an internal
                                                                 internal email,
                                                                          email,

eventually forwarded
eventually forwarded to
                     to Belcan
                        Belcan managers
                               managers and
                                        and executives,
                                            executives, that
                                                        that QuEST “complained to
                                                             QuEST "complained to

[P&W] that
[P&W]      we are
      that we are ‘stealing’
                  `stealing' their
                             their people,
                                   people, and [P&W] threatened
                                           and [P&W] threatened to
                                                                to pull
                                                                   pull all
                                                                        all POs from
                                                                            POs from

[Belcan] if
[Belcan]    we hire
         if we hire him.” Id. 1¶1[ 33.
                    him." Id.      33. A
                                       A day
                                         day later,
                                             later, aa Belcan employee emailed
                                                       Belcan employee emailed Patel and said:
                                                                               Patel and said:

“Per our
"Per our conversation
         conversation yesterday,
                      yesterday, this
                                 this email
                                      email is
                                            is to
                                               to confirm that we
                                                  confirm that we have
                                                                  have rescinded
                                                                       rescinded the offer
                                                                                 the offer

letter for” the
letter for" the Engineer
                Engineer at
                         at issue.
                            issue. Id.

                    d. P&W
                    d. P&W enforced
                              enforced the No-Poach Agreement
                                       the No-Poach Agreement despite
                                                              despite warnings
                                                                      warnings that
                                                                               that
                       this conduct
                       this conduct was
                                    was unlawful.
                                        unlawful.

        104.
        104.    At least
                At least as
                         as early
                            early as
                                  as January
                                     January 2016, well before
                                             2016, well        several of
                                                        before several of the examples of
                                                                          the examples of

unlawful conduct described
unlawful conduct described herein, certain managers
                           herein, certain managers and
                                                    and executives
                                                        executives at
                                                                   at Belcan began
                                                                      Belcan began

raising concerns with
raising concerns with Patel
                      Patel that
                            that the conduct of
                                 the conduct of P&W
                                                P&W and the Suppliers
                                                    and the Suppliers was
                                                                      was unlawful,
                                                                          unlawful,

specifically because
specifically because they
                     they violated
                          violated the
                                   the antitrust laws.
                                       antitrust laws.

        105.
        105.    Early in
                Early    January 2016,
                      in January 2016, aa General Manager for
                                          General Manager for Belcan
                                                              Belcan received an email
                                                                     received an email

describing aa civil
describing    civil lawsuit
                    lawsuit in which several
                            in which several major companies were
                                             major companies were accused
                                                                  accused of
                                                                          of (as
                                                                             (as the Belcan
                                                                                 the Belcan



                                              38
                                              38
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employee forwarding
employee            the email
         forwarding the email put
                              put it) “engaging in
                                  it) "engaging in illegal
                                                   illegal anti-poaching
                                                           anti-poaching

agreements……the companies involved
agreements the companies  involved had
                                   had promised
                                       promised each other not
                                                each other not to
                                                               to actively
                                                                  actively recruit
                                                                           recruit

employees from
employees from one
               one another.” Id. 1¶1[ 35.
                   another." Id.      35. The
                                          The General Manager subsequently
                                              General Manager subsequently planned
                                                                           planned aa

meeting with Patel
meeting with Patel in which one
                   in which one of
                                of the
                                   the items for discussion
                                       items for discussion was
                                                            was "Nnformal
                                                                “[i]nformal poaching
                                                                            poaching

agreement between outsource
agreement between outsource suppliers.
                            suppliers. Recent
                                       Recent Apple
                                              Apple lawsuit
                                                    lawsuit because
                                                            because these
                                                                    these agreements
                                                                          agreements

are
are illegal” (an apparent
    illegal" (an apparent reference
                          reference to the 2015
                                    to the      settlement in
                                           2015 settlement in In re High-Tech Employee

Antitrust Litigation,
Antitrust             No. 5:11-cv-2509
          Litigation, No. 5:11-cv-2509 (N.D.
                                       (N.D. Cal.)).
                                             Cal.)). Id. ¶36.
                                                     Id. 136.

        106.
        106.    The same
                The same General Manager raised
                         General Manager raised the
                                                the unlawful
                                                    unlawful nature of the
                                                             nature of the restrictions
                                                                           restrictions

on recruiting
on recruiting and
              and hiring with Patel
                  hiring with       again in
                              Patel again in February
                                             February 2017.
                                                      2017. In
                                                            In aa series
                                                                  series of
                                                                         of emails,
                                                                            emails, Belcan’s
                                                                                    Belcan's

Human Resources
Human Resources Director and the
                Director and the General Manager discussed
                                 General Manager discussed an
                                                           an upcoming call with
                                                              upcoming call with

Patel, which was
Patel, which was planned concerning aa recent
                 planned concerning    recent allegation
                                              allegation that
                                                         that Belcan
                                                              Belcan had
                                                                     had hired an
                                                                         hired an

Engineer from QuEST
Engineer from QuEST in violation of
                    in violation of the No-Poach Agreement.
                                    the No-Poach Agreement. The
                                                            The HR
                                                                HR Director
                                                                   Director noted
                                                                            noted

her concern that
her concern that "there
                 “there is
                        is an
                           an anti- trust issue
                              anti-trust        by us
                                          issue by us turning
                                                      turning people
                                                              people away solely based
                                                                     away solely based on
                                                                                       on

their
their previous employer.” DCIS
      previous employer."      Affidavit, 1¶1[ 37.
                          DCIS Affidavit,      37. The
                                                   The General Manager acknowledged
                                                       General Manager acknowledged

these concerns about
these concerns about illegality
                     illegality in
                                in aa subsequent
                                      subsequent email
                                                 email to
                                                       to the HR Director,
                                                          the HR Director, noting “[P&W]
                                                                           noting "[P&W]

(Mahesh Patel)
(Mahesh Patel) is
               is asking (insisting) that
                  asking (insisting) that we
                                          we not
                                             not interview anyone currently
                                                 interview anyone currently employed by
                                                                            employed by

our competitors
our competitors .. .. .. I'm
                         I’m not sure if
                             not sure if this
                                         this is legal, but
                                              is legal, but that
                                                            that is what they
                                                                 is what      are requesting
                                                                         they are            we
                                                                                  requesting we

do.” DCIS
do."      Affidavit, 1¶1[ 37.
     DCIS Affidavit,      37. The
                              The next day, Belcan’s
                                  next day, Belcan's HR
                                                     HR Director
                                                        Director reported that she
                                                                 reported that she and
                                                                                   and




                                                39
                                                39
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another
another Belcan manager "spoke
        Belcan manager “spoke with
                              with Mahesh
                                   Mahesh this
                                          this afternoon. He understands
                                               afternoon. He             our
                                                             understands our

concern with
concern with antitrust
             antitrust compliance,
                       compliance, however,
                                   however, he still requested
                                            he still requested that our recruiters
                                                               that our recruiters not
                                                                                   not

speak with
speak with applicants who are
           applicants who     current[ly] employed
                          are currently]  employed with
                                                   with [Belcan]
                                                        [Belcan] competitors."
                                                                 competitors.” DCIS
                                                                               DCIS

Affidavit, 1¶1[ 37.
Affidavit,      37. Two
                    Two weeks
                        weeks later,
                              later, one
                                     one of
                                         of the
                                            the individuals who was
                                                individuals who was included on these
                                                                    included on these email
                                                                                      email

threads sent an
threads sent an email
                email to
                      to the
                         the Belcan HR Director,
                             Belcan HR Director, the
                                                 the General Manager, and
                                                     General Manager, and the Vice
                                                                          the Vice

President of Human
President of Human Resources. The sole
                   Resources. The sole content of the
                                       content of the email was aa link
                                                      email was    link to
                                                                        to aa website
                                                                              website that
                                                                                      that

described aa class
described    class action antitrust lawsuit
                   action antitrust         concerning aa "conspiracy"
                                    lawsuit concerning    “conspiracy” between
                                                                       between companies
                                                                               companies

who had
who had agreed
        agreed to “restrict[] recruiting
               to "restrict[]            of each
                              recruiting of each other's
                                                 other’s employees."
                                                         employees.” DCIS
                                                                     DCIS Affidavit,
                                                                          Affidavit, 1¶1[ 38.
                                                                                          38.

                2.
                2.      Restricting Hiring
                        Restricting Hiring and
                                           and Recruiting
                                               Recruiting Between
                                                          Between P&W
                                                                  P&W and
                                                                      and QuEST.
                                                                          QuEST.

        107.
        107.   As part
               As      of and
                  part of     to effectuate
                          and to effectuate the No-Poach Agreement,
                                            the No-Poach Agreement, P&W and QuEST
                                                                    P&W and QuEST

agreed to restrict
agreed to restrict P&W’s
                   P&W's hiring
                         hiring and
                                and recruiting of Engineers
                                    recruiting of Engineers from QuEST. P&W
                                                            from QuEST. P&W and
                                                                            and

QuEST did so
QuEST did so through
             through two
                     two primary means: 1)
                         primary means:    setting aa two-year
                                        1) setting    two-year tenure
                                                               tenure restriction for any
                                                                      restriction for any

QuEST Engineers hired
QuEST Engineers hired by
                      by P&W,
                         P&W, and
                              and 2)
                                  2) instituting
                                     instituting periodic
                                                 periodic hiring
                                                          hiring freezes,
                                                                 freezes, in which
                                                                          in which

P&W would not
P&W would not make
              make any
                   any hires of QuEST
                       hires of QuEST Engineers.
                                      Engineers.

                     a. The
                     a. The Two-Year
                            Two-Year Tenure
                                     Tenure Restriction.
                                            Restriction.

        108.
        108.    In 2011,
                In 2011, aa QuEST executive –- who
                            QuEST executive    who has served as
                                                   has served    Senior Vice
                                                              as Senior Vice President,
                                                                             President,

President-Strategic Accounts, and
President-Strategic Accounts, and President-Global Business Head
                                  President-Global Business Head during
                                                                 during his
                                                                        his time
                                                                            time at
                                                                                 at

QuEST– began pushing
QuEST-began  pushing Patel
                     Patel to enter an
                           to enter an agreement
                                       agreement in which P&W
                                                 in which     would wait
                                                          P&W would wait to
                                                                         to hire
                                                                            hire

QuEST’s employees until
QuEST's employees       they had
                  until they     worked at
                             had worked at QuEST for aa specified
                                           QuEST for    specified length of time.
                                                                  length of time.


                                             40
                                             40
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        109.
        109.    In September
                In September of
                             of that year, defendant
                                that year, defendant Harvey, along with
                                                     Harvey, along with aa QuEST account
                                                                           QuEST account

manager,
manager, attended
         attended aa dinner
                     dinner with
                            with Patel
                                 Patel and
                                       and aa P&W Vice President
                                              P&W Vice President to whom Patel
                                                                 to whom Patel directly
                                                                               directly

reported. December 15
reported. December 15 Indictment,
                      Indictment, 1¶1[ 24(a); DCIS Affidavit,
                                       24(a); DCIS Affidavit, 1¶1[ 42.
                                                                   42. The
                                                                       The objectives
                                                                           objectives of
                                                                                      of the
                                                                                         the

dinner included
dinner included aa discussion
                   discussion of
                              of the
                                 the QuEST executive’s proposal
                                     QuEST executive's          concerning tenure.
                                                       proposal concerning tenure.

December
December 15
         15 Indictment,
            Indictment, 1¶1[ 24(a);
                             24(a); DCIS Affidavit, 1¶1[ 42.
                                    DCIS Affidavit,      42.

        110.
        110.    The day
                The day following
                        following that dinner, defendant
                                  that dinner, defendant Harvey sent an
                                                         Harvey sent    email to
                                                                     an email to the
                                                                                 the

attendees, stating: "We
attendees, stating: “We truly appreciate and
                        truly appreciate     value our
                                         and value our strategic
                                                       strategic relationship….I
                                                                 relationship....I thought
                                                                                   thought II

would take
would take the lead in
           the lead    summarizing what
                    in summarizing what we
                                        we discussed
                                           discussed last
                                                     last night
                                                          night and
                                                                and proposed
                                                                    proposed next
                                                                             next

steps…” December
steps..." December 15
                   15 Indictment,
                      Indictment, 1¶1[ 24(a); DCIS Affidavit,
                                       24(a); DCIS Affidavit, 1¶1[ 42. The first
                                                                   42. The first item on the
                                                                                 item on the list
                                                                                             list

was "Personnel
was “Personnel Transfers"
               Transfers” (in
                          (in quotations
                              quotations in
                                         in the original email).
                                            the original email). December
                                                                 December 15
                                                                          15 Indictment,
                                                                             Indictment,

1¶1[ 24(a); DCIS Affidavit,
     24(a); DCIS Affidavit, 1¶1[ 42.
                                 42. Defendant
                                     Defendant Harvey
                                               Harvey described
                                                      described this
                                                                this as “the new
                                                                     as "the new

policy/guidelines” that the
policy/guidelines" that the P&W Vice President
                            P&W Vice President had
                                               had reviewed
                                                   reviewed at
                                                            at the dinner, which
                                                               the dinner, which set
                                                                                 set aa

“min. 24
"min. 24 months”
         months" period
                 period for such "Personnel
                        for such “Personnel Transfers."
                                            Transfers.” December
                                                        December 15 Indictment, 1¶1[
                                                                 15 Indictment,

24(a); DCIS Affidavit,
24(a); DCIS Affidavit, 1¶1[ 42. Harvey further
                            42. Harvey further indicated
                                               indicated that
                                                         that Patel
                                                              Patel had
                                                                    had advised
                                                                        advised that
                                                                                that he limit
                                                                                     he limit

the written record
the written        on this
            record on this agreement,
                           agreement, noting that, "[f]ollowing
                                      noting that, “[f]ollowing Mahesh's
                                                                Mahesh’s previous counsel,
                                                                         previous counsel,

[he would]
[he would] not
           not go[]
               go[] into detail in
                    into detail    writing on
                                in writing on this subject.” DCIS
                                              this subject." DCIS Affidavit,
                                                                  Affidavit, 1¶1[ 42.
                                                                                  42.

        111.
        111.    Subsequently, starting
                Subsequently, starting in
                                       in late
                                          late 2011,
                                               2011, managers
                                                     managers and executives from
                                                              and executives from QuEST
                                                                                  QuEST

(including defendants
(including defendants Harvey an Wasan)
                      Harvey an Wasan) would
                                       would routinely
                                             routinely communicate with Patel
                                                       communicate with Patel and
                                                                              and




                                               41
                                               41
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others in
others in his outsourcing management
          his outsourcing            group at
                          management group at P&W concerning this
                                              P&W concerning      agreement.
                                                             this agreement.

December
December 15
         15 Indictment,
            Indictment, 1¶1[ 24(a);
                             24(a); DCIS Affidavit, 1¶1[ 43.
                                    DCIS Affidavit,          Specifically, these
                                                         43. Specifically, these managers
                                                                                 managers and
                                                                                          and

executives worked
executives worked to
                  to reconfirm,
                     reconfirm, maintain,
                                maintain, and enforce this
                                          and enforce this agreement and to
                                                           agreement and    block or
                                                                         to block or

attempt
attempt to block P&W’s
        to block P&W's recruiting
                       recruiting and
                                  and hiring of those
                                      hiring of those QuEST employees covered
                                                      QuEST employees         by the
                                                                      covered by the

agreement. DCIS Affidavit,
agreement. DCIS Affidavit, 1¶1[ 43.
                                43.

        112.
        112.    For example,
                For example, in October 2012,
                             in October       one QuEST
                                        2012, one       employee wrote
                                                  QuEST employee wrote to
                                                                       to Patel
                                                                          Patel

concerning an
concerning    employee about
           an employee       whom Patel
                       about whom Patel had
                                        had inquired, stating: "[Employee's]
                                            inquired, stating: “[Employee’s] tenure at
                                                                             tenure at

[QuEST] dates
[QuEST] dates to
              to May
                 May 2011.
                     2011. Based on our
                           Based on our agreement
                                        agreement of
                                                  of two
                                                     two year
                                                         year minimum
                                                              minimum tenure, we
                                                                      tenure, we

would ask
would ask that [P&W] not
          that [P&W] not pursue employment of
                         pursue employment of [him]
                                              [him] at
                                                    at this
                                                       this time.” DCIS Affidavit,
                                                            time." DCIS Affidavit, 1¶1[

44.
44.

        113.
        113.   Similarly, in
               Similarly,    June 2015,
                          in June 2015, Patel emailed managers
                                        Patel emailed          from QuEST,
                                                      managers from        stating that
                                                                    QuEST, stating that

P&W “is interested
P&W "is interested in
                   in interviewing
                      interviewing and
                                   and hiring”
                                       hiring" two
                                               two QuEST
                                                   QuEST Engineers
                                                         Engineers and
                                                                   and asking
                                                                       asking that
                                                                              that

QuEST “[p]lease provide
QuEST "[p]lease         your concurrence."
                provide your concurrence.” DCIS
                                           DCIS Affidavit,
                                                Affidavit, 1¶1[ 45.
                                                                45. One
                                                                    One of
                                                                        of the
                                                                           the QuEST
                                                                               QuEST

managers
managers responded that, while
         responded that, while one
                               one of
                                   of the
                                      the Engineers
                                          Engineers had worked at
                                                    had worked at QuEST
                                                                  QuEST for four and
                                                                        for four and

aa half years and
   half years     “meets requirements,”
              and "meets                the other
                         requirements," the other "only
                                                  “only has 8 months
                                                        has 8        and does
                                                              months and does not
                                                                              not meet
                                                                                  meet

obligation, so
obligation, so [QuEST]
               [QuEST] cannot
                       cannot provide concurrence.” Id.
                              provide concurrence."

        114.
        114.   As another
               As another example,
                          example, in April 2017,
                                   in April 2017, two QuEST managers,
                                                  two QuEST managers, discussing
                                                                      discussing aa

P&W
P&W request
    request to
            to hire
               hire aa certain
                       certain QuEST
                               QuEST Engineer,
                                     Engineer, noted
                                               noted in
                                                     in an
                                                        an internal email that
                                                           internal email that this
                                                                               this




                                             42
                                             42
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employee "wouldn't
employee “wouldn’t meet our requirements
                   meet our              for two
                            requirements for     years.” DCIS
                                             two years."      Affidavit, 1¶1[ 46;
                                                         DCIS Affidavit,      46;

December
December 15
         15 Indictment,
            Indictment, 1¶1[ 24(b). Two days
                             24(b). Two days later,
                                             later, one
                                                    one of
                                                        of those
                                                           those managers
                                                                 managers emailed
                                                                          emailed Patel
                                                                                  Patel to
                                                                                        to

inform
inform him
       him that
           that the employee "does
                the employee “does not meet tenure
                                   not meet tenure requirements.” DCIS Affidavit,
                                                   requirements." DCIS Affidavit, 1¶1[

46; December 15
46; December    Indictment, 1¶1[ 24(b).
             15 Indictment,      24(b). Patel
                                        Patel in turn told
                                              in turn told aa P&W
                                                              P&W HR
                                                                  HR employee: ”QuEST
                                                                     employee: "QuEST

Will not
Will not release
         release him
                 him .. .. .. He
                              He has
                                 has not completed 22 [y]ears
                                     not completed    [y]ears as our verbal
                                                              as our verbal agreements.”
                                                                            agreements." DCIS
                                                                                         DCIS

Affidavit, 1¶1[ 46;
Affidavit,      46; December
                    December 15
                             15 Indictment,
                                Indictment, 1¶1[ 24(b).
                                                 24(b).

                      b. The
                      b. The Hiring
                             Hiring Freezes.
                                    Freezes.

        115.
        115.       In furtherance
                   In             of the
                      furtherance of the conspiracy,
                                         conspiracy, representatives of QuEST
                                                     representatives of QuEST and
                                                                              and Patel also
                                                                                  Patel also

agreed
agreed upon
       upon periodic
            periodic freezes of P&W’s
                     freezes of P&W's recruiting
                                      recruiting and
                                                 and hiring of any
                                                     hiring of any QuEST
                                                                   QuEST employees,
                                                                         employees,

with limited
with limited exceptions.
             exceptions.

        116.
        116.       These hiring
                   These hiring freezes
                                freezes took
                                        took place
                                             place from approximately 2015
                                                   from approximately 2015 through
                                                                           through 2017
                                                                                   2017

and
and ranged from several
    ranged from several months
                        months to
                               to nearly an entire
                                  nearly an        year in
                                            entire year in 2016.
                                                           2016. Each
                                                                 Each began when
                                                                      began when

QuEST managers and
QuEST managers and executives
                   executives petitioned
                              petitioned Patel to limit
                                         Patel to       or stop
                                                  limit or stop hiring from QuEST.
                                                                hiring from QuEST.

        117.
        117.       For example,
                   For example, in September 2015,
                                in September       following aa request
                                             2015, following            by Patel
                                                                request by       for QuEST’s
                                                                           Patel for QuEST's

“concurrence” in
"concurrence  in P&W’s
               " P&W's hiring of two
                       hiring of two QuEST
                                     QuEST Engineers, one of
                                           Engineers, one of the
                                                             the QuEST executives
                                                                 QuEST executives

responded with aa lengthy
responded with    lengthy complaint
                          complaint concerning
                                    concerning the
                                               the frequency of P&W’s
                                                   frequency of P&W's hiring of
                                                                      hiring of

Engineers
Engineers from
          from QuEST. The QuEST
               QuEST. The QuEST executive
                                executive noted
                                          noted that, while both
                                                that, while both of
                                                                 of the employees
                                                                    the employees

in question "have
in question “have at
                  at least two years
                     least two years [QuEST]
                                     [QuEST] experience,
                                             experience, so
                                                         so [they]
                                                            [they] meet
                                                                   meet the
                                                                        the ‘handshake
                                                                            `handshake

agreement’ level,” he
agreement' level,"    stated:“[QuEST] will
                   he stated:"[QuEST] will not be able
                                           not be able to
                                                       to concur with any
                                                          concur with any more
                                                                          more hiring of
                                                                               hiring of


                                               43
                                               43
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[QuEST] employees
[QuEST] employees this
                  this year.
                       year. ..
                             . . .. All
                                    All we
                                        we can
                                           can do
                                               do is
                                                  is highlight
                                                     highlight the
                                                               the problem and ask
                                                                   problem and ask that
                                                                                   that

[P&W] support
[P&W] support us
              us going
                 going forward
                       forward to
                               to prevent
                                  prevent further
                                          further hiring of our
                                                  hiring of our resources.” DCIS
                                                                resources." DCIS

Affidavit, 1¶1[ 48.
Affidavit,      48. Another
                    Another QuEST executive responded
                            QuEST executive           to this
                                            responded to this email and added,
                                                              email and added, addressing
                                                                               addressing

Patel directly, "Mahesh,
Patel directly, “Mahesh, we
                         we truly
                            truly need your help
                                  need your help in blocking these
                                                 in blocking these two
                                                                   two hires
                                                                       hires and
                                                                             and putting
                                                                                 putting aa

moratorium on [QuEST]
moratorium on [QuEST] hires for the
                      hires for the remainder of the
                                    remainder of the year."
                                                     year.” DCIS
                                                            DCIS Affidavit,
                                                                 Affidavit, 1¶1[ 48.
                                                                                 48.

        118.
        118.   In aa further
               In    further example,
                             example, in January 2016,
                                      in January       Wasan reported
                                                 2016, Wasan reported to
                                                                      to QuEST’s
                                                                         QuEST's Chief
                                                                                 Chief

Engineer/Account Manager and
Engineer/Account Manager and another colleague that
                             another colleague that “I am planning
                                                    "I am          to meet
                                                          planning to      with
                                                                      meet with

Mahesh later
Mahesh       this week
       later this week to
                       to discuss
                          discuss the
                                  the hiring
                                      hiring matrix
                                             matrix II developed
                                                       developed to
                                                                 to limit the hiring.
                                                                    limit the         Also II
                                                                              hiring. Also

am going to
am going to tell
            tell him
                 him that
                     that he
                          he needs
                             needs to block” two
                                   to block" two QuEST
                                                 QuEST Engineers “from being
                                                       Engineers "from being hired
                                                                             hired

until we come
until we come to
              to an
                 an agreement on the
                    agreement on the acceptable
                                     acceptable limit
                                                limit to
                                                      to hire [from] our
                                                         hire [from] our team.”
                                                                         team."

December
December 15
         15 Indictment, ¶ 23(a); DCIS
            Indictment, 123(a);  DCIS Affidavit,
                                      Affidavit, 149.
                                                 ¶ 49. On
                                                       On information
                                                          information and belief, this
                                                                      and belief, this

meeting
meeting led
        led to
            to Patel and the
               Patel and the QuEST executives establishing
                             QuEST executives establishing aa new
                                                              new hiring freeze for
                                                                  hiring freeze for 2016.
                                                                                    2016.

        119.
        119.   In or
               In or around July 2016,
                     around July       Wasan sent
                                 2016, Wasan sent an
                                                  an email
                                                     email to
                                                           to Patel
                                                              Patel regarding
                                                                    regarding aa QuEST
                                                                                 QuEST

employee that
employee that P&W was interested
              P&W was interested in
                                 in hiring, writing "we
                                    hiring, writing “we cannot
                                                        cannot lose
                                                               lose him”
                                                                    him" and
                                                                         and

complaining to
complaining to Patel that "P&W
               Patel that “P&W keeps
                               keeps poaching
                                     poaching this team.” December
                                              this team." December 15 Indictment, 1¶1[
                                                                   15 Indictment,

23(b).
23(b). Patel
       Patel then
             then emailed
                  emailed aa P&W
                             P&W hiring contact and
                                 hiring contact and explained: “I checked
                                                    explained: "I checked with
                                                                          with QuEST,
                                                                               QuEST,

They absolutely
They            do not
     absolutely do     want to
                   not want to release [the employee].
                               release [the employee]. Please do not
                                                       Please do     extend offer
                                                                 not extend offer to
                                                                                  to him.
                                                                                     him.

P&W
P&W has committed to
    has committed to QuEST that we
                     QuEST that we will
                                   will not
                                        not hire
                                            hire any more of
                                                 any more of their employees this
                                                             their employees this




                                             44
                                             44
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year in
year in 2016.”
        2016." December
               December 15
                        15 Indictment,
                           Indictment, 1¶1[ 23(b).
                                            23(b). Patel
                                                   Patel then sent the
                                                         then sent the email
                                                                       email to Wasan, and
                                                                             to Wasan, and

Wasan
Was an thanked
       thanked Patel.
               Patel. Id.
                      Id.

        120.
        120.    After reaching
                After reaching agreement with QuEST
                               agreement with       executives, Patel
                                              QuEST executives,       would announce
                                                                Patel would announce

the beginning of
the beginning of hiring freezes to
                 hiring freezes to P&W
                                   P&W personnel
                                       personnel involved
                                                 involved in
                                                          in recruiting
                                                             recruiting and
                                                                        and hiring
                                                                            hiring

Engineers
Engineers for
          for P&W
              P&W and
                  and instruct that these
                      instruct that these freezes be respected.
                                          freezes be            As an
                                                     respected. As an example,
                                                                      example, in
                                                                               in early
                                                                                  early

2017,
2017, Patel emailed the
      Patel emailed     Vice President
                    the Vice           of HR-Engineering
                             President of HR-Engineering for
                                                         for P&W and requested
                                                             P&W and           that
                                                                     requested that

she "direct
she “direct your
            your HR
                 HR team
                    team not to hire
                         notto       [QuEST] outsource
                                hire [QuEST] outsource resources currently deployed
                                                       resources currently deployed on
                                                                                    on

[P&W] projects
[P&W]          till end
      projects till     of this
                    end of      year. .. ..
                           this year.    . . [QuEST]
                                             [QuEST] senior
                                                     senior leadership
                                                            leadership including
                                                                       including CEO
                                                                                 CEO has
                                                                                     has

repeatedly
repeatedly raised concerns on
           raised concerns on [P&W]
                              [P&W] hiring [QuEST] employees.
                                    hiring [QuEST] employees. We
                                                              We will
                                                                 will lift
                                                                      lift [QuEST]
                                                                           [QuEST]

hiring
hiring restriction
       restriction from Jan 1,
                   from Jan 1, 2018.”
                               2018." Id. 1¶1[ 50.
                                               50.

                     c. P&W
                     c. P&W andand QuEST
                                   QuEST share
                                         share aa common
                                                  common interest in suppressing
                                                         interest in suppressing labor
                                                                                 labor
                        costs.
                        costs.

        121.
        121.    The agreement
                The agreement between
                              between P&W
                                      P&W and
                                          and QuEST to limit
                                              QuEST to       the recruiting
                                                       limit the recruiting and
                                                                            and

hiring of QuEST
hiring of QuEST Engineers
                Engineers served
                          served the
                                 the common
                                     common interest of both
                                            interest of both Defendants by alleviating
                                                             Defendants by alleviating

upward
upward pressure on labor
       pressure on labor costs
                         costs to both companies.
                               to both companies. Specifically,
                                                  Specifically, by
                                                                by agreeing
                                                                   agreeing to
                                                                            to restrict
                                                                               restrict

P&W’s
P&W's recruiting and hiring
      recruiting and        from QuEST,
                     hiring from QuEST, QuEST
                                        QuEST was
                                              was able
                                                  able to keep its
                                                       to keep     labor costs
                                                               its labor costs down
                                                                               down

and likewise maintain
and likewise maintain the
                      the low
                          low prices that it
                              prices that    offered to
                                          it offered to P&W
                                                        P&W for
                                                            for its outsourcing projects.
                                                                its outsourcing projects.

Were QuEST
Were QuEST to
           to contend with the
              contend with the higher wages and
                               higher wages and recruiting
                                                recruiting for
                                                           for Engineers
                                                               Engineers offered by
                                                                         offered by

P&W
P&W absent the agreement,
    absent the agreement, QuEST would face
                          QuEST would face increased
                                           increased pressure
                                                     pressure to compete with
                                                              to compete with



                                                45
                                                45
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P&W on wages,
P&W on wages, benefits, and professional
              benefits, and              opportunities and
                            professional opportunities and an
                                                           an ensuing
                                                              ensuing need
                                                                      need to
                                                                           to hike
                                                                              hike

prices
prices for
       for its
           its P&W
               P&W projects.
                   projects.

        122.
        122.    Representatives from
                Representatives from QuEST
                                     QuEST explicitly
                                           explicitly called
                                                      called out
                                                             out the
                                                                 the shared
                                                                     shared benefits
                                                                            benefits to
                                                                                     to

the
the limitations on recruiting
    limitations on recruiting and
                              and hiring
                                  hiring in
                                         in their efforts to
                                            their efforts to push
                                                             push P&W to agree
                                                                  P&W to agree to
                                                                               to hiring
                                                                                  hiring

freezes. Specifically, QuEST
freezes. Specifically,       appealed to
                       QuEST appealed    the financial
                                      to the           benefits that
                                             financial benefits      would accrue
                                                                that would accrue to both
                                                                                  to both

QuEST and P&W
QuEST and P&W if
              if P&W ceased recruiting
                 P&W ceased            and hiring
                            recruiting and hiring QuEST
                                                  QuEST Engineers,
                                                        Engineers, including by
                                                                   including by

resisting wage increases.
resisting wage increases.

        123.
        123.    For example,
                For example, in June 2017,
                             in June       defendant Harvey
                                     2017, defendant Harvey from
                                                            from QuEST
                                                                 QuEST forwarded
                                                                       forwarded aa

business proposal
business proposal to an executive
                  to an executive at
                                  at P&W, which was
                                     P&W, which was shared
                                                    shared with
                                                           with Patel, and noted
                                                                Patel, and noted that
                                                                                 that

this
this proposal
     proposal. provided “a partnership
               provided "a partnership approach on how
                                       approach on     we can
                                                   how we can minimize
                                                              minimize bill
                                                                       IDill rate
                                                                             rate

increases
increases necessary
          necessary to
                    to hire and retain
                       hire and retain resources
                                       resources needed
                                                 needed to
                                                        to provide the desired
                                                           provide the         services to”
                                                                       desired services to"

Raytheon,
Raytheon, P&W’s
          P&W's parent company. December
                parent company. December 15
                                         15 Indictment,
                                            Indictment, 1¶1[ 27(d); DCIS Affidavit,
                                                             27(d); DCIS Affidavit, 1¶1[

52. The
52. The attached
        attached presentation
                 presentation explicitly
                              explicitly promoted
                                         promoted and
                                                  and proposed
                                                      proposed further
                                                               further hiring
                                                                       hiring

restrictions for P&W
restrictions for     of QuEST
                 P&W of QuEST Engineers,
                              Engineers, noting
                                         noting that “[w]e have
                                                that "Me   have found
                                                                found that customer
                                                                      that customer

hiring of our
hiring of our resources
              resources puts
                        puts pressure on [QuEST's]
                             pressure on [QuEST’s] and our customers’
                                                   and our customers' ability
                                                                      ability to contain
                                                                              to contain

labor cost increases
labor cost increases in our joint
                     in our joint ‘ecosystem’ over time.”
                                  `ecosystem' over        December 15
                                                   time." December    Indictment, 1¶1[ 27(d);
                                                                   15 Indictment,      27(d);

DCIS Affidavit,
DCIS Affidavit, 1¶1[ 52.
                     52.




                                             46
                                             46
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        F.
        F.      The Structure
                The Structure of
                              of the
                                 the Market
                                     Market for Aerospace Engineers.
                                            for Aerospace Engineers.

        124.
        124.    In addition
                In addition to
                            to the extensive direct
                               the extensive        evidence of
                                             direct evidence of the No-Poach Agreement
                                                                the No-Poach Agreement

set out
set out above,
        above, the market for
               the market for aerospace
                              aerospace Engineers
                                        Engineers is characterized by
                                                  is characterized by plus factors that
                                                                      plus factors that

render
render the
       the industry susceptible to
           industry susceptible to collusion
                                   collusion and
                                             and bolster
                                                 bolster the
                                                         the plausibility of the
                                                             plausibility of the No-Poach
                                                                                 No-Poach

Agreement alleged
Agreement alleged herein. These include:
                  herein. These include: (1)
                                         (1) numerous opportunities to
                                             numerous opportunities    collude; (2)
                                                                    to collude; (2) high
                                                                                    high

entry barriers
entry barriers for Aerospace Firms
               for Aerospace Firms and Suppliers; (3)
                                   and Suppliers; (3) high
                                                      high exit barriers for
                                                           exit barriers for Engineers;
                                                                             Engineers; and
                                                                                        and

(4) inelastic
(4) inelastic demand
              demand for
                     for and
                         and aa lack of substitutes
                                lack of substitutes for
                                                    for aerospace Engineers.
                                                        aerospace Engineers.

        125.
        125.    First,
                First, P&W worked closely
                       P&W worked closely with
                                          with the Defendant Suppliers
                                               the Defendant Suppliers in
                                                                       in connection
                                                                          connection

with the
with the outsourcing
         outsourcing project work, which
                     project work, which gave
                                         gave rise to multiple
                                              rise to          opportunities for
                                                      multiple opportunities for

collusion.
collusion.

        126.
        126.    P&W maintained long
                P&W maintained long standing
                                    standing working
                                             working relationships with the
                                                     relationships with the Supplier
                                                                            Supplier

Defendants
Defendants in this case.
           in this case.

        127.
        127.    P&W
                P&W executives like Patel
                    executives like       visited Suppliers'
                                    Patel visited Suppliers’ offices
                                                             offices with
                                                                     with regularity.
                                                                          regularity.

        128.
        128.    P&W also regularly
                P&W also regularly monitored
                                   monitored and communicated with
                                             and communicated with Defendants about
                                                                   Defendants about

their overall success
their overall success as Suppliers, including
                      as Suppliers,           their productivity
                                    including their productivity and
                                                                 and ability
                                                                     ability to offer cost
                                                                             to offer cost

savings to
savings to P&W.
           P&W.

        129.
        129.    As part
                As      of this
                   part of this effort,
                                effort, P&W
                                        P&W issued awards that
                                            issued awards that it
                                                               it presented
                                                                  presented to
                                                                            to its
                                                                               its most
                                                                                   most

valued Suppliers,
valued Suppliers, recognizing accomplishments in
                  recognizing accomplishments    areas such
                                              in areas such as
                                                            as innovation
                                                               innovation and
                                                                          and




                                              47
                                              47
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productivity. The
productivity. The Defendant
                  Defendant Suppliers
                            Suppliers were
                                      were frequent
                                           frequent recipients
                                                    recipients of
                                                               of these awards, and
                                                                  these awards, and Patel
                                                                                    Patel

                      inthe presentations
was directly involved inthe presentations of these awards to the Suppliers.

       130.    For example,
                   example, in 2017,
                               2017, Belcan received
                                            received the P&W Supplier Productivity
                                                                      Productivity

Innovation Award. Belcan issued a press
                                  press release
                                        release in connection with this award, noting

that this was the sixth award that Belcan received from P&W since 2010 and that the

award was a testament to Belcan’s                                P&W’s success and the
                         Belcan's highly valued contributions to P&W's

    companies’ "enduring
two companies' “enduring relationship."
                         relationship.” Patel spoke at the award ceremony and lauded

“Belcan’s commitment to driving change and continuously delivering better solutions to
"Belcan's

                                        . . while allowing [P&W] to maintain its
[P&W] through value added innovations . ..

                        marketplace.”
competitive edge in the marketplace."




              I
                                     41.




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        Executives of Belcan
        Executives of        and P&W,
                      Belcan and      including Mahesh
                                 P&W, including Mahesh Patel, at the
                                                       Patel, at the 2017 awards ceremony.
                                                                     2017 awards ceremony.

       131.
       131.     As another
                As another example,
                           example, P&W awarded Cyient
                                    P&W awarded        with two
                                                Cyient with     Supplier awards
                                                            two Supplier awards for
                                                                                for

2019.
2019. Cyient won the
      Cyient won     Supplier Innovation
                 the Supplier            Award for
                              Innovation Award for the seventh consecutive
                                                   the seventh consecutive year
                                                                           year and
                                                                                and

the Supplier Highest
the Supplier Highest Productivity Award for
                     Productivity Award for the
                                            the fourth year in
                                                fourth year in aa row.
                                                                  row. Cyient
                                                                       Cyient issued
                                                                              issued aa

press
press release announcing these
      release announcing these awards
                               awards and
                                      and noted
                                          noted that
                                                that they “recognized Cyient’s
                                                     they "recognized Cyient's

continued commitment
continued commitment to delivering unparalleled
                     to delivering unparalleled productivity and cost
                                                productivity and cost savings"
                                                                      savings”

including “multi-million dollars
including "multi-million dollars in costsavings that
                                 in costsavings that were
                                                     were realized
                                                          realized through several supplier
                                                                   through several supplier

saving proposals.”
saving proposals."

                                                                                                  1140
                                                                                                „so' -kV
                                                                                             .,* 2 "



                                                    Press Release

                               Cyient Wins Pratt & Whitney 2019 Supplier Awards in
                                               two ke


                                                                    (-

         Executives of Belcan
         Executives of        and P&W,
                       Belcan and      including Mahesh
                                  P&W, including Mahesh Patel, at the
                                                        Patel, at the 2019 awards ceremony
                                                                      2019 awards ceremony

       132.
       132.     Second, the
                Second, the market
                            market for aerospace Engineers
                                   for aerospace Engineers is characterized by
                                                           is characterized by high entry
                                                                               high entry

barriers for
barriers     employers. For
         for employers.     Aerospace Firms
                        For Aerospace Firms to compete, they
                                            to compete, they must
                                                             must develop
                                                                  develop desirable
                                                                          desirable and
                                                                                    and

proprietary
proprietary products and technologies
            products and technologies that
                                      that commercial and governmental
                                           commercial and governmental entities
                                                                       entities are
                                                                                are

willing to
willing to purchase. Without those
           purchase. Without those products, Aerospace Firms
                                   products, Aerospace Firms have
                                                             have no
                                                                  no need
                                                                     need for
                                                                          for

Engineers’ labor. Without
Engineers' labor. Without their
                          their own
                                own products, Suppliers make
                                    products, Suppliers make up
                                                             up the
                                                                the rest of the
                                                                    rest of     market
                                                                            the market


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                                                 49
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for purchasing Engineers'
               Engineers’ services. Suppliers likewise have high entry barriers, including,

without limitation difficulties in establishing industry trust (of Aerospace Companies)

and recognition, as well as difficulties in recruiting and retaining Engineers with requisite

expertise.

        133.    Third, there are high exit barriers for Engineers. To enter the market,

Engineers make substantial investments of time and money in the education, training,

and experience that is required to obtain the highly specialized skills necessary to perform

this work. Engineers graduate from undergraduate and/or graduate engineering programs

                 degrees—often specific to aerospace engineering. Once in the workforce,
with engineering degrees-often

Engineers further specialize based on the work they do, including specializing in a

category (e.g., software/systems engineers,mechanical
                                 engineers,mechanical engineers, structural analysts), and

within those categories, specific to particular functions (e.g., specializing in aerodynamic

fluid flow; structural design; guidance, navigation and control; instrumentation and

communication; propulsion and combustion). The aerospace application of these

categories and functions is particular to aerospace engineering services and not directly

transferable to other engineering fields.

        134.    Fourth, demand for aerospace Engineers is relatively inelastic. Over the

past decade, about 4,000 openings for aerospace engineers have been projected each year.




                                              50
                                              50
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As described
As described above,
             above, aerospace
                    aerospace Engineers
                              Engineers have obtained highly
                                        have obtained        specialized skills
                                                      highly specialized skills that are
                                                                                that are

required to perform
required to         work in
            perform work    the industry
                         in the industry and
                                         and their services generally
                                             their services generally cannot be
                                                                      cannot be

substituted by
substituted by Engineers from different
               Engineers from different industries.
                                        industries.

        G.
        G.      Anticompetitive effects
                Anticompetitive   effects and
                                          and injury
                                                injury suffered
                                                       suffered by
                                                                by Class
                                                                   Class Members
                                                                         Members from
                                                                                 from
                Defendants’ illegal
                Defendants' illegal conspiracy.
                                    conspiracy.

        135.
        135.    The No-Poach
                The No-Poach Agreement
                             Agreement challenged
                                       challenged herein
                                                  herein has
                                                         has impaired
                                                             impaired Engineers’
                                                                      Engineers'

mobility and suppressed
mobility and suppressed their
                        their compensation below competitive
                              compensation below             levels.
                                                 competitive levels.

        136.
        136.    This anticompetitive
                This anticompetitive agreement
                                     agreement to
                                               to impair Engineers’ mobility
                                                  impair Engineers' mobility and
                                                                             and

suppress their
suppress their compensation
               compensation included
                            included restrictions on recruiting
                                     restrictions on            and hiring
                                                     recruiting and hiring among
                                                                           among the
                                                                                 the

Supplier Defendants
Supplier Defendants and
                    and P&W. This has
                        P&W. This has had significant anticompetitive
                                      had significant                 effects with
                                                      anticompetitive effects with no
                                                                                   no

countervailing procompetitive
countervailing                benefits.
               procompetitive benefits.

        137.
        137.    The No-Poach
                The No-Poach Agreement
                             Agreement suppresses
                                       suppresses wages
                                                  wages for
                                                        for Engineers by restricting
                                                            Engineers by             the
                                                                         restricting the

availability of attractive
availability of            outside opportunities
                attractive outside opportunities for their Engineers.
                                                 for their Engineers. In
                                                                      In aa competitive
                                                                            competitive

market,
market, the threat of
        the threat of losing
                      losing employees
                             employees to
                                       to aa competitor
                                             competitor would
                                                        would encourage
                                                              encourage Defendants
                                                                        Defendants to
                                                                                   to

raise wages –- either
raise wages    either preemptively,
                      preemptively, in
                                    in response to direct
                                       response to direct offers
                                                          offers from
                                                                 from rival
                                                                      rival employers, or as
                                                                            employers, or as aa

reactive
reactive response to retain
         response to        employees (whether
                     retain employees (whether specific
                                               specific or
                                                        or general)
                                                           general) –- in order to
                                                                       in order to increase
                                                                                   increase

morale and competitive
morale and competitive positioning and ultimately
                       positioning and ultimately to
                                                  to retain valuable labor.
                                                     retain valuable labor. Such
                                                                            Such

competition is
competition    absent due
            is absent due to
                          to the No-Poach Agreement.
                             the No-Poach Agreement.




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                                              51
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        138.    The positive compensation effects of hiring Engineers from competitors

are not limited to the particular individuals who seek new employment or to the

particular individuals who would have pursued new positions but for the No-Poach

Agreement. Instead, the effects of aa"no-poach"
                                     “no-poach” restraint in the labor market (and, in

particular the effects of suppressing recruiting and hiring pursuant to the No-Poach

Agreement here) commonly impact all individuals in positions subject to the restraint.

        139.    In accord with economic theory and the above allegations, the No-Poach

Agreement here artificially reduced the compensation of all Engineers below levels that

would have prevailed in its absence.

        140.    Plaintiff and all other members of the Class were harmed by the No-Poach

Agreement alleged herein. Defendants'
                          Defendants’ unlawful No-Poach Agreements restrained

competition in the market for aerospace engineering services, which had the (intended)

effect of suppressing compensation and mobility for all members of the Class. Thus,

Plaintiff and the members of the Class suffered antitrust injury.

        141.    Without this class action, Plaintiff and the Class will remain unable to

receive compensation for the harm they suffered, and Defendants will continue to reap

the benefits of their illegal conspiracy.




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                                             52
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        142.    The unlawful No-Poach Agreement entered into by Defendants is a per se

illegal restraint on competition entered into by horizontal competitors in the market for

aerospace engineering services.

        143.    In the alternative, Defendants are liable under a "quick
                                                                  “quick look"
                                                                         look” analysis

where someone with even a rudimentary understanding of economics could conclude

that the arrangement and agreement alleged would have an anticompetitive effect on

Class members and markets.

        144.    In the alternative, Defendants are liable under a Rule of Reason analysis

because their unlawful agreements not to hire one another’s
                                                  another's Engineers reduced

compensation and restrained mobility and competition in the market for Engineers’
                                                                       Engineers'

services. The unlawful No-Poach Agreement between Defendants had no procompetitive

effects and were not intended to have procompetitive effects. In fact, the No-Poach

Agreement had the explicit intent to suppress compensation to Engineers and was

successful in effectuating that intent. Such unlawful agreement had additional

anticompetitive effects, including, inter alia, eliminating competition for skilled labor,

preventing Plaintiff and members of the Class from obtaining employment and earning

compensation in a competitive market, and preventing or limiting employment




                                              53
                                              53
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opportunities and choice with respect to such opportunities. Such anticompetitive effects

outweigh any conceivable procompetitive benefits of the conspiracy.

        H.      Defendants concealed the No Poach Agreements from the public
                                                                      public and the
                                                                                 the
                Proposed Class.

        145.    Defendants actively concealed their illegal No-Poach Agreement from the

public and the proposed Class. Defendants did not disclose the existence of the No-Poach

Agreement to their Engineers or to the public. As further alleged above, however,

Defendants would monitor and enforce each other's
                                          other’s compliance with the No-Poach

Agreement.

        146.    The nature of the No-Poach Agreement ensures it would remain largely

undetected by Engineers and the public. Defendants entered into the No-Poach

Agreement orally (the existence of which various emails confirm), affirmatively avoiding

memorializing the No-Poach Agreement in a written agreement despite its broad

application and multi-year duration, opting instead to inform new executives about the

         Agreement’s existence on a primarily oral basis. The reason for this practice was
No-Poach Agreement's

to avoid alerting the public and the proposed Class of the No-Poach Agreement's
                                                                    Agreement’s

existence and, thus, to deter potential investigations, litigation, and to perpetuate the

Agreement’s illegal effects.
Agreement's




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       147.
       147.    The Defendants
               The Defendants took
                              took affirmative steps to
                                   affirmative steps    conceal the
                                                     to conceal the existence
                                                                    existence and
                                                                              and

operation of
operation of the
             the conspiracy.
                 conspiracy. December
                             December 15
                                      15 Indictment,
                                         Indictment, 1¶1[ 29. Among other
                                                          29. Among other things,
                                                                          things, the
                                                                                  the

Defendants agreed that
Defendants agreed that their conspiracy remain
                       their conspiracy remain an
                                               an unwritten
                                                  unwritten understanding
                                                            understanding and
                                                                          and not
                                                                              not

reflected
reflected in
          in master
             master terms
                    terms agreements or other
                          agreements or other formal
                                              formal written
                                                     written agreements
                                                             agreements between
                                                                        between P&W
                                                                                P&W

and co-conspirators. December
and co-conspirators. December 15 Indictment, 1¶1[ 29.
                              15 Indictment,      29. Further, with respect
                                                      Further, with respect to defendant
                                                                            to defendant

Wasan and
Wasan     other Defendants,
      and other Defendants, they often provided
                            they often provided false and misleading
                                                false and misleading information to
                                                                     information to

Engineers
Engineers and other skilled-labor
          and other skilled-labor workers
                                  workers regarding
                                          regarding the existence of
                                                    the existence of the
                                                                     the agreement
                                                                         agreement and
                                                                                   and

the worker’s ability
the worker's         to obtain
             ability to obtain employment at other
                               employment at other co-conspirator
                                                   co-conspirator companies,
                                                                  companies, including
                                                                             including

by communicating
by communicating that
                 that employment
                      employment at other co-conspirator
                                 at other co-conspirator companies
                                                         companies was
                                                                   was unavailable to
                                                                       unavailable to

them because of
them because of noncompete
                noncompete agreements
                           agreements rather
                                      rather than
                                             than the conspiratorial agreement.
                                                  the conspiratorial agreement. Id.
                                                                                Id.

       148.
       148.    For example,
               For example, in
                            in aa September
                                  September 2011
                                            2011 email from defendant
                                                 email from defendant Harvey
                                                                      Harvey to
                                                                             to Patel
                                                                                Patel

and co-conspirators, Harvey
and co-conspirators,        stated, "lflo'lowing
                     Harvey stated, “[f]ollowing Mahesh's
                                                 Mahesh’s previous counsel, II am
                                                          previous counsel,    am not
                                                                                  not

going into
going      detail in
      into detail    writing” on
                  in writing" on the
                                 the subject
                                     subject of
                                             of the
                                                the agreement by P&W
                                                    agreement by P&W not
                                                                     not to
                                                                         to hire certain
                                                                            hire certain

employees from
employees from QuEST.
               QuEST. December
                      December 15
                               15 Indictment,
                                  Indictment, 1¶1[ 29(e).
                                                   29(e).

       149.
       149.    In aa January
               In    January 2015 statement by
                             2015 statement by aa QuEST
                                                  QuEST manager
                                                        manager to defendant Harvey
                                                                to defendant Harvey

and two other
and two other QuEST
              QuEST executives
                    executives regarding
                               regarding his
                                         his recent discussion with
                                             recent discussion with defendant
                                                                    defendant

Houghtaling
Houghtaling about
            about ceasing
                  ceasing poaching between QuEST
                          poaching between QuEST and
                                                 and Belcan,
                                                     Belcan, the
                                                             the QuEST
                                                                 QuEST manager
                                                                       manager

stated, "[w]hile
stated, “[w]hile II want
                    want you
                         you to
                             to be
                                be informed,
                                   informed, II would
                                                would rather
                                                      rather not
                                                             not have
                                                                 have any other folks
                                                                      any other folks know
                                                                                      know




                                            55
                                            55
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where this
where this info came from.
           info came from. II request
                              request that this email
                                      that this email not be forwarded."
                                                      not be forwarded.” December 15
                                                                         December 15

Indictment, ¶ 29(f).
Indictment, 129(f).

       150.
       150.    Indeed, the
               Indeed,     federal investigator
                       the federal investigator from
                                                from the
                                                     the Defense
                                                         Defense Criminal
                                                                 Criminal Investigative
                                                                          Investigative

Service (DCIS)
Service        of the
        (DCIS) of the United States Department
                      United States Department of
                                               of Defense,
                                                  Defense, Office of the
                                                           Office of the Inspector
                                                                         Inspector

General
General that wrote the
        that wrote the Affidavit
                       Affidavit in Support of
                                 in Support of Criminal
                                               Criminal Complaint
                                                        Complaint and Arrest Warrant
                                                                  and Arrest Warrant

filed by the
filed by the Department of Justice
             Department of Justice found
                                   found that,
                                         that, although some individuals
                                               although some individuals heard
                                                                         heard rumors of
                                                                               rumors of

the
the agreement,
    agreement, likely
               likely from the select
                      from the select few direct victim-witnesses
                                      few direct victim-witnesses who
                                                                  who were
                                                                      were denied
                                                                           denied

positions due to
positions due to the conduct, in
                 the conduct, in many
                                 many instances
                                      instances even victim-witnesses were
                                                even victim-witnesses were unaware of
                                                                           unaware of

the
the actions taken by
    actions taken by Defendants to block
                     Defendants to block their
                                         their job applications. DCIS
                                               job applications.      Affidavit, 154.
                                                                 DCIS Affidavit, ¶ 54.

Moreover, the
Moreover, the far-reaching
              far-reaching impact of the
                           impact of the restrictions on recruiting
                                         restrictions on recruiting and
                                                                    and hiring, which
                                                                        hiring, which

extends to
extends to those
           those Engineers who had
                 Engineers who had not directly applied
                                   not directly         for employment
                                                applied for employment with
                                                                       with another
                                                                            another

one of
one of Defendants, ensures that
       Defendants, ensures that the vast majority
                                the vast          of the
                                         majority of the Class,
                                                         Class, including
                                                                including Plaintiff, were
                                                                          Plaintiff, were

unaware of the
unaware of     No-Poach Agreement
           the No-Poach Agreement because
                                  because of
                                          of Defendants'
                                             Defendants’ active
                                                         active concealment of the
                                                                concealment of the

agreement. As for
agreement. As for those members of
                  those members of the
                                   the Class whose compensation
                                       Class whose              was directly
                                                   compensation was directly affected
                                                                             affected

by the
by     conduct without
   the conduct without such
                       such members
                            members actively searching for
                                    actively searching for aa new
                                                              new position with aa
                                                                  position with

Defendant,
Defendant, the No-Poach Agreement
           the No-Poach Agreement was
                                  was undiscoverable
                                      undiscoverable through any reasonable
                                                     through any reasonable inquiry.
                                                                            inquiry.

       151.
       151.    But for
               But for information
                       information made
                                   made public
                                        public in
                                               in the
                                                  the DCIS Affidavit, Plaintiff
                                                      DCIS Affidavit,           would
                                                                      Plaintiff would

have
have remained
     remained unaware that the
              unaware that the No-Poach
                               No-Poach Agreement
                                        Agreement existed. Because of
                                                  existed. Because of the
                                                                      the secrecy
                                                                          secrecy of
                                                                                  of




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                                            56
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the No-Poach Agreement
the No-Poach Agreement and
                       and Defendants’
                           Defendants' acts of concealment,
                                       acts of concealment, Plaintiff and the
                                                            Plaintiff and the Class
                                                                              Class

did not
did     and could
    not and could not
                  not have known before
                      have known before December
                                        December 9,
                                                 9, 2021, when the
                                                    2021, when     DOJ filed
                                                               the DOJ filed its
                                                                             its

partially
partially unsealed criminal complaint
          unsealed criminal complaint and
                                      and arrest warrant for
                                          arrest warrant     defendant Mahesh
                                                         for defendant Mahesh Patel,
                                                                              Patel, that
                                                                                     that

Defendants were engaged
Defendants were engaged in an illegal
                        in an         conspiracy to
                              illegal conspiracy    suppress Engineers’
                                                 to suppress            wages by
                                                             Engineers' wages by

restraining
restraining recruitment
            recruitment and
                        and hiring of one
                            hiring of one another's
                                          another’s Engineers.
                                                    Engineers. Further,
                                                               Further, the secrecy of
                                                                        the secrecy of the
                                                                                       the

No-Poach Agreement
No-Poach Agreement and
                   and Defendants’
                       Defendants' acts of concealment
                                   acts of concealment would
                                                       would have
                                                             have thwarted any
                                                                  thwarted any

reasonable effort to
reasonable effort to discover
                     discover the No-Poach Agreement
                              the No-Poach Agreement before
                                                     before that date.
                                                            that date.

V.
V.      Class action
        Class action allegations.
                     allegations.

        152.
        152.    Plaintiff brings this
                Plaintiff brings      action on
                                 this action on behalf
                                                behalf of
                                                       of himself
                                                          himself and
                                                                  and all others similarly
                                                                      all others similarly

situated pursuant
situated pursuant to
                  to Federal
                     Federal Rules of Civil
                             Rules of Civil Procedure
                                            Procedure 23(a),
                                                      23(a), 23(b)(2),
                                                             23(b)(2), and
                                                                       and 23(b)(3). The
                                                                           23(b)(3). The

Class
Class is defined as:
      is defined as:

       All natural
       All natural persons      who worked
                      persons who    worked at   one or
                                              at one  or more
                                                         more ofof the
                                                                   the Defendants
                                                                        Defendants as  as
       Engineers     from   January    2011   through   such   time
       Engineers from January 2011 through such time as Defendants'   as   Defendants’
       anticompetitive    conduct ceased
       anticompetitive conduct      ceased (“Class
                                           ("Class Period”).
                                                   Period"). Excluded   from the
                                                             Excluded from    the Class
                                                                                   Class
       are  members of
       are members       of Defendants’    boards of
                             Defendants' boards     of directors,
                                                       directors, Defendants'
                                                                  Defendants’ senior
                                                                                  senior
       executives  who entered
       executives who    entered into
                                  into and/or
                                       and/or enforced  the No-Poach
                                               enforced the No-Poach Agreement,
                                                                       Agreement, and
                                                                                    and
       any
       any and
           and all
                all judges
                    judges assigned
                             assigned to
                                      to hear or adjudicate
                                         hear or adjudicate any
                                                            any aspect of thislitigation
                                                                aspect of thislitigation
       and
       and their
            their judicial staff.
                  judicial staff.

        153.
        153.    Plaintiff does not
                Plaintiff does     yet know
                               not yet      the exact
                                       know the exact size
                                                      size of
                                                           of the Class because
                                                              the Class because such
                                                                                such

information
information is
            is in the exclusive
               in the           control of
                      exclusive control of Defendants.
                                           Defendants. Based
                                                       Based upon
                                                             upon publicly
                                                                  publicly available
                                                                           available

information,
information, there are thousands
             there are thousands of
                                 of Class
                                    Class members. Joinder of
                                          members. Joinder of all
                                                              all members of the
                                                                  members of the Class
                                                                                 Class is
                                                                                       is

therefore
therefore impracticable.
          impracticable.


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                                              57
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       154.
       154.   Class members
              Class members are easily ascertainable
                            are easily               based on,
                                       ascertainable based on, among
                                                               among other
                                                                     other things,
                                                                           things, the
                                                                                   the

Defendants’ employment records.
Defendants' employment records.

       155.
       155.   There are
              There are many questions of
                        many questions of law
                                          law and fact common
                                              and fact common to
                                                              to the
                                                                 the Class
                                                                     Class as
                                                                           as aa whole,
                                                                                 whole,

including:
including:

              (a)
              (a)     Whether, when,
                      Whether, when, and
                                     and how Defendants entered
                                         how Defendants entered into, operated,
                                                                into, operated,

              monitored, and
              monitored, and enforced
                             enforced the No-Poach Agreement;
                                      the No-Poach Agreement;

              (b)
              (b)     Whether Defendants
                      Whether Defendants concealed
                                         concealed the existence of
                                                   the existence of the No-Poach
                                                                    the No-Poach

              Agreement from
              Agreement from Plaintiff
                             Plaintiff and
                                       and the
                                           the members of the
                                               members of the Class;
                                                              Class;

              (c)
              (c)     Whether Defendants’
                      Whether             conduct violated
                              Defendants' conduct violated Section
                                                           Section 11 of
                                                                      of the Sherman
                                                                         the Sherman

              Act;
              Act;

              (d)
              (d)     Whether the
                      Whether the No-Poach
                                  No-Poach Agreement
                                           Agreement is
                                                     is aa per
                                                           per se violation of
                                                               se violation of the
                                                                               the

              Sherman Act;
              Sherman Act;

              (e)
              (e)     Whether the
                      Whether     No-Poach Agreement
                              the No-Poach Agreement restrained
                                                     restrained trade,
                                                                trade, commerce, or
                                                                       commerce, or

              competition for
              competition for Engineers between Defendants;
                              Engineers between Defendants;

              (f)
              (f)     Whether Plaintiff
                      Whether Plaintiff and the Class
                                        and the Class have suffered antitrust
                                                      have suffered antitrust injury;
                                                                              injury; and
                                                                                      and

              (g)
              (g)     the appropriate
                      the appropriate measure
                                      measure of
                                              of damages.
                                                 damages.

       156.
       156.   These and
              These and other
                        other questions
                              questions of
                                        of law
                                           law and fact are
                                               and fact are common
                                                            common to the Class
                                                                   to the Class and
                                                                                and

predominate over any
predominate over     questions affecting
                 any questions           only individual
                               affecting only individual members of the
                                                         members of the Class.
                                                                        Class.




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                                           58
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        157.
        157.    Plaintiff’s claims are
                Plaintiff's claims are typical of the
                                       typical of     claims of
                                                  the claims of the
                                                                the Class.
                                                                    Class.

        158.
        158.    Plaintiff will fairly
                Plaintiff will        and adequately
                               fairly and adequately represent
                                                     represent the
                                                               the interests
                                                                   interests of,
                                                                             of, and
                                                                                 and have
                                                                                     have no
                                                                                          no

conflicts of
conflicts of interest with, the
             interest with,     Class.
                            the Class.

        159.
        159.    Plaintiff
                Plaintiff has
                          has retained
                              retained counsel experienced in
                                       counsel experienced in antitrust
                                                              antitrust and class action
                                                                        and class action

litigation to represent
litigation to represent himself
                        himself and
                                and the
                                    the Class.
                                        Class.

        160.
        160.    This class
                This class action
                           action is superior to
                                  is superior to the alternatives, if
                                                 the alternatives,    any, for
                                                                   if any, for the
                                                                               the fair and
                                                                                   fair and

efficient adjudication
efficient              of this
          adjudication of      controversy. Prosecution
                          this controversy.             as aa class
                                            Prosecution as    class action will eliminate
                                                                    action will eliminate the
                                                                                          the

possibility of repetitive
possibility of            litigation. There
               repetitive litigation. There will
                                            will be
                                                 be no
                                                    no material difficulty in
                                                       material difficulty in the
                                                                              the management
                                                                                  management

of this
of      action as
   this action as aa class
                     class action.
                           action. By
                                   By contrast,
                                      contrast, prosecution of separate
                                                prosecution of separate actions
                                                                        actions by
                                                                                by individual
                                                                                   individual

members of the
members of the Class would create
               Class would create the
                                  the risk of inconsistent
                                      risk of              or varying
                                              inconsistent or varying adjudications
                                                                      adjudications and
                                                                                    and

be inefficient
be inefficient and burdensometo the
               and burdensometo the parties and the
                                    parties and     Court.
                                                the Court.

                                FIRST CLAIM
                                FIRST  CLAIM FOR
                                              FOR RELIEF
                                                   RELIEF
                       (Violation of
                       (Violation of the
                                     the Sherman
                                         Sherman Act,
                                                 Act, 15
                                                      15 U.S.C.
                                                         U.S.C. §
                                                                § 1)
                                                                  1)

        161.
        161.    Plaintiff
                Plaintiff realleges
                          realleges and
                                    and incorporates by reference
                                        incorporates by           each of
                                                        reference each of the
                                                                          the averments
                                                                              averments

contained in
contained    the preceding
          in the preceding paragraphs of this
                           paragraphs of this complaint.
                                              complaint.

        162.
        162.    Defendants entered
                Defendants entered into
                                   into and engaged in
                                        and engaged in the
                                                       the unlawful
                                                           unlawful horizontal No-
                                                                    horizontal No-

Poach Agreement in
Poach Agreement in restraint of trade
                   restraint of trade and commerce, as
                                      and commerce,    described above,
                                                    as described above, in violation of
                                                                        in violation of

Section 1
Section 1 of
          of the
             the Sherman
                 Sherman Act,
                         Act, 15
                              15 U.S.C. § 1.
                                 U.S.C. §    The No-Poach
                                          1. The No-Poach Agreement
                                                          Agreement is
                                                                    is aa per se

violation of
violation of Section
             Section One of the
                     One of     Sherman Act.
                            the Sherman Act.



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          163.   The acts done by Defendants as part of, and in furtherance of, their

agreements, understandings, contracts, combinations, or conspiracies were authorized,

ordered, or done by their respective senior executives while actively engaged in the

management of Defendants’
              Defendants' affairs.

          164.   Defendants collectively possess monopsony power in the relevant market.

Through their No-Poach Agreement, Defendants harmed competition in the relevant

market.

          165.   The unlawful No-Poach Agreement had the following effects, among

others:

                 (a)      Competition between Defendants for Engineers was suppressed,

                 restrained, or eliminated; and

                 (b)      Plaintiff and members of the Class have received lower

                 compensation from Defendants than they otherwise would have received

                 in the absence of the No-Poach Agreement and, as a result, have been

                 injured and have suffered damages in an amount according to proof at

                 trial.




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                                              60
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        166.
        166.    Defendants’ No-Poach
                Defendants' No-Poach Agreement
                                     Agreement had
                                               had no
                                                   no procompetitive benefits or
                                                      procompetitive benefits or

justifications. The No-Poach
justifications. The No-Poach Agreement
                             Agreement provided
                                       provided no efficiencies or
                                                no efficiencies or other
                                                                   other benefits
                                                                         benefits that
                                                                                  that

would offset
would offset the substantial competitive
             the substantial competitive harms described above.
                                         harms described above.

        167.
        167.    As aa direct
                As    direct and
                             and proximate
                                 proximate result of Defendants’
                                           result of Defendants' illegal No-Poach
                                                                 illegal No-Poach

Agreement, members
Agreement,         of the
           members of     Class have
                      the Class      suffered injury
                                have suffered        and have
                                              injury and      been deprived
                                                         have been deprived of
                                                                            of the
                                                                               the

benefits of
benefits of free
            free and
                 and fair competition for
                     fair competition for their labor on
                                          their labor on the
                                                         the merits.
                                                             merits.

        168.
        168.    Accordingly, Plaintiff
                Accordingly, Plaintiff and members of
                                       and members of the Class seek
                                                      the Class seek three
                                                                     three times
                                                                           times their
                                                                                 their

damages caused
damages caused by
               by Defendants’ violation of
                  Defendants' violation of Section
                                           Section 11 of
                                                      of the
                                                         the Sherman
                                                             Sherman Act,
                                                                     Act, the costs of
                                                                          the costs of

bringing suit,
bringing suit, reasonable
               reasonable attorneys’
                          attorneys' fees,
                                     fees, injunctive
                                           injunctive relief, and aa declaration
                                                      relief, and    declaration that such
                                                                                 that such

agreement
agreement is
          is unlawful.
             unlawful.

VI.
VI.     Prayer for
        Prayer for relief.
                   relief.

        A.
        A.      WHEREFORE, Plaintiff
                WHEREFORE, Plaintiff prays
                                     prays that this Court
                                           that this Court enter
                                                           enter judgment on their
                                                                 judgment on their

behalf and
behalf and that of the
           that of     Class by
                   the Class by adjudging
                                adjudging and
                                          and decreeing
                                              decreeing that:
                                                        that:

        B.
        B.      This action
                This action may
                            may be
                                be maintained
                                   maintained as
                                              as aa class
                                                    class action,
                                                          action, with
                                                                  with Plaintiff
                                                                       Plaintiff as
                                                                                 as the
                                                                                    the

designated Class
designated Class representative and his
                 representative and     counsel as
                                    his counsel as Class counsel;
                                                   Class counsel;

        C.
        C.      Defendants engaged
                Defendants engaged in
                                   in aa trust, contract, combination,
                                         trust, contract, combination, or
                                                                       or conspiracy
                                                                          conspiracy in
                                                                                     in

violation of
violation of Section
             Section 11 of
                        of the Sherman Act,
                           the Sherman Act, 15 U.S.C. §
                                            15 U.S.C. § 11 and
                                                           and that
                                                               that Plaintiff
                                                                    Plaintiff and
                                                                              and the
                                                                                  the

members of the
members of the Class
               Class have been damaged
                     have been damaged and
                                       and injured
                                           injured in
                                                   in their business as
                                                      their business as aa result of this
                                                                           result of this

violation;
violation;


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                                              61
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         D.      The alleged conduct be adjudged and decreed to be a per se violation of

Section 1of the Sherman Act, 15 U.S.C. § 1, or in the alternative, a violation of Section 1

of the Sherman Act, 15 U.S.C. § 1, under the quick look or rule of reason frameworks;

         E.      Plaintiff and the members of the Class recover threefold the damages

determined to have been sustained by them as a result of the conduct of Defendants

complained of herein and that judgment be entered against Defendants for the amount

so determined;

         F.      Judgment be entered against Defendants in favor of Plaintiff and each

member ofthe
       ofthe Class, for restitution and disgorgement of ill-gotten gains as allowed by law

and equity as determined to have been sustained by them;

         G.      For prejudgment and post-judgment interest;

         H.      For equitable relief, including a judicial determination of the rights and

responsibilities of the parties;

         I.      For attorneys’
                     attorneys' fees;

         J.J.    For costs of suit; and

         K.      For such other and further relief as the Court may deem just and proper.

VII.
VII.     Jury demand.
         Jury demand.

         Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a jury trial

for all claims and issues so triable.


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Dated December 29,
Dated December 29, 2021
                   2021           /s/ ct21994
                                  /s/ ct21994
                                   Daniel J. Krisch
                                   Daniel J. Krisch
                                   Fed. Bar  #ct21994
                                   Fed. Bar #ct21994
                                   HALLORAN SAGE
                                   HALLORAN     SAGE LLP
                                                     LLP
                                   225  Asylum St.
                                   225 Asylum    St.
                                   Hartford,  CT 06103
                                   Hartford, CT    06103
                                   (860) 522-6103
                                   (860) 522-6103
                                   krisch@halloransage.com
                                   krisch@halloransage.com

                                   Jason A.
                                   Jason  A. Zweig*
                                             Zweig*
                                   jaz@kellerlenkner.com
                                   jaz@kellerlenkner.com
                                   150 N.
                                   150  N. Riverside
                                           Riverside Plaza,   Suite 4100
                                                       Plaza, Suite 4100
                                   Chicago, IL
                                   Chicago,   IL 60606
                                                 60606
                                   (312) 741-5220
                                   (312)  741-5220
                                   Zina  Bash*
                                   Zina Bash*
                                   zina.bash@kellerlenkner.com
                                   zina.bash@kellerlenkner.com
                                   111 Congress
                                   111  Congress Avenue,
                                                   Avenue, Suite
                                                             Suite 500
                                                                    500
                                   Austin, TX
                                   Austin,  TX 78701
                                                 78701
                                   (501) 690-0990
                                   (501)  690-0990
                                   K          LENKNER LLC
                                     ELLER LENKNER
                                   KELLER                  LLC
                                   Attorneys for
                                   Attorneys for Plaintiff
                                                 Plaintiff

                                   *Pro hac
                                   *Pro     vice forthcoming
                                        hac vice forthcoming




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